   Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 1 of 118 PageID #:110



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 JACQUELINE STEVENS,                                )
                                                    )
                                 Plaintiff,         )
                                                    )
                                                         No. 17 C 2494
                         v.                         )
                                                    )
                                                         Judge Lee
 UNITED STATES DEPARTMENT OF                        )
 STATE,                                             )
                                                    )
                                 Defendant.         )

               L.R. 56.1 STATEMENT OF MATERIAL FACTS IN SUPPORT
             OF THE DEPARTMENT’S MOTION FOR SUMMARY JUDGMENT

        The United States Department of State, by John R. Lausch, Jr., United States Attorney for

the Northern District of Illinois, submits the following statement of material facts as to which there

is no genuine issue pursuant to Local Rule 56.1 of the United States District Court for the Northern

District of Illinois.

                                      Jurisdiction and Venue

        1.       This is an action brought under the Freedom of Information Act (FOIA), and the

court has subject matter jurisdiction under 5 U.S.C. § 552 and 28 U.S.C. § 1331. Dkt. 12 (Answer)

¶ 3.

        2.       Venue is proper in this district because plaintiff Jacqueline Stevens resides in this

district. Id. ¶ 4.

                                               Parties

        3.       Plaintiff Jacqueline Stevens is a professor at Northwestern University. Id. ¶ 5.

        4.       The United States Department of State is an executive agency of the United States

government. Id. ¶ 6.
   Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 2 of 118 PageID #:111



                                     Request F-2015-03180

       5.      Stevens submitted a FOIA request to the Department on February 11, 2015,

seeking, from January 1, 2005, to present:

               All State HQ and consular Qatar materials in all systems [sic.] records and
               elsewhere referencing Northwestern University’s Qatar campus. Material
               requested includes but is not limited to memorandums, cables or e-mails, notes,
               reports, correspondence with other agencies, members of Congress (or staff), and
               private firms or individuals.

Ex. A (Stein Dec.) ¶ 4.

       6.      On February 12, 2015, the Department responded by letter acknowledging receipt

of Stevens’s FOIA request and assigning control number F-2015-03180 to the request. Id. ¶ 5.

       7.      The Department determined that the following records systems and offices were

reasonably likely to have documents responsive to Request F-2015-03180: the State Archiving

System, the Retired Records Inventory Management System, the U.S. Embassy in Doha, the

Bureau of Diplomatic Security, the Bureau of Near Eastern Affairs, the Bureau of International

Information Programs, the Policy Planning Staff, and the Office of the Undersecretary for

Management. Id. ¶ 13.

       8.      A Department specialist knowledgeable of both the request and the State Archiving

System searched for documents containing the term “Northwestern” and retrieved 25 responsive

documents. Id. ¶¶ 14-15. The State Archiving system provides the ability to query over 40 million

records through a single interface. Id. ¶ 14, including cables, diplomatic notes, and official

correspondence. Id.

       9.      A Department specialist knowledgeable of both the request and the Retired Record

Inventory Management System conducted a search of the system using the term “Northwestern”

and identified no responsive records. Id. ¶¶ 16-17.



                                                2
   Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 3 of 118 PageID #:112



       10.     An officer knowledgeable of both the request and the records system of the U.S.

Embassy in Doha, Qatar, searched certain locations within the Embassy for documents containing

the term “Northwestern” and retrieved 396 responsive documents. Id. ¶¶ 18-19.

       11.     A Bureau of Diplomatic Security analyst knowledgeable of both the request and

the relevant record systems searched certain locations in the Overseas Security Advisory Council

within the Threat Investigations and Analysis Directorate and Policy and Planning Division within

the Office of Management for documents containing the terms “Northwestern” or “University”

and identified no responsive records. Id. ¶¶ 20-23.

       12.     An adviser in the Bureau of Near Eastern Affairs knowledgeable of both the request

and the relevant records systems searched certain locations in the Bureau’s Office of Arabian

Peninsula Affairs for documents containing the term “Northwestern University” and found no

responsive records. Id. ¶¶ 24-25.

       13.     An adviser in the Bureau of International Information Programs knowledgeable of

both the request and the relevant records systems searched certain locations within the Bureau for

documents containing the term “Northwestern University” and identified no responsive records.

Id. ¶ 26. Additionally, the Bureau’s Director of the Office of the U.S. Speaker Program, who was

knowledgeable of both the request and the U.S. Speaker Program’s records system, searched

certain locations within that office for documents containing the terms “Qatar,” “Doha,”

“Northwestern,” “Film,” or “Richard Pena” and found no responsive records. Id. ¶ 27.

       14.     A Policy Planning Staff employee knowledgeable of both the request and the

relevant records systems searched certain locations within that office for documents containing the

terms “Northwestern,” “University,” “Campus,” “Qatar,” or “Doha,” and found no responsive

records. Id. ¶¶ 28-30.



                                                3
   Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 4 of 118 PageID #:113



       15.     The Undersecretary for Management, who was knowledgeable of both the request

and the relevant records systems, searched certain locations within his office for documents

containing the term “Northwestern” and found no responsive records. Id. ¶¶ 31-32.

       16.     The Department determined that the following offices and bureaus were not

reasonably likely to maintain records responsive to Request F-2015-03180 because the topics of

the request were not within the scope of their work: the Policy, Planning, and Resources Office of

the Office of the Undersecretary for Public Diplomacy; the Office of the Chief of Protocol; the

Bureau of Intelligence and Research; the Office of Overseas Schools in the Bureau of

Administration; the Office of Languages Services in the Bureau of Administration; the White

House Liaison’s Office (which reports to the Office of the Undersecretary for Management); the

Office of Management Policy, Rightsizing, and Innovation (same); the Bureau of Budget and

Planning (same); the Bureau of the Comptroller and Global Financial Services (same); and the

Bureau of Educational and Cultural Affairs. Id. ¶¶ 33. (The Department’s March 23, 2016 letter

to Stevens said that the Department had conducted searches of the Bureau of Budget and Planning,

the Bureau of Educational and Cultural Affairs, and the Office of the Comptroller and Global

Financial Services, but in fact those offices had confirmed that they were not reasonably likely to

have responsive records. Id. ¶ 33 n.5.)

       17.     Before Stevens filed this lawsuit, the Department made two productions of

responsive documents, by letters dated March 23, 2016, and June 13, 2016. Id. ¶ 5. Additionally,

the Department referred one document to the Defense Intelligence Agency (DIA) for direct reply

to Stevens. Ex. B (Williams Dec.) ¶ 4. DIA responded to Stevens on June 28, 2017, denying in

full the release of that document. Id.. DIA operates under guidance from the Director of National

Intelligence. Id. ¶ 17.



                                                4
   Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 5 of 118 PageID #:114



       18.      In August 2017, the Department told Stevens that its searches for documents

responsive to Request F-2015-03180 had located a large number of potentially responsive

documents. Ex. A (Stein Dec.) ¶ 6. The parties agreed that the Department could reduce the

number of documents needed to be processed by using keywords to narrow the results of the

searches. Id.

       19.      The Department made ten productions of responsive documents after Stevens filed

the complaint, by letters dated June 9, 2017; July 7, 2017; August 7, 2017; September 6, 2017;

October 5, 2017; November 6, 2017; December 5, 2017; January 4, 2018; February 5, 2018; and

May 17, 2018. Id. ¶ 7.

                                      Request F-2015-03181

       20.      Stevens submitted a second FOIA request to the Department on February 11, 2015,

seeking policy and planning materials relating to establishing American universities abroad. Ex.

A (Stein Dec.) ¶ 8. The Department assigned control number F-2015-03181 to the request. Id.

       21.      After Stevens filed this lawsuit, she agreed to narrow the request to read:

                [A]ll *policy and planning materials* pertaining to *establishing U.S. university
                campuses in Qatar, Abu Dhabi, South Korea, China, and Singapore.

Id. ¶ 8. The timeframe of the request was 2003 to present. Id.

       22.      The Department determined that the following records systems and offices were

reasonably likely to have documents responsive to Request F-2015-03181: the State Archiving

System, the Retired Records Inventory Management System, the Bureau of Diplomatic Security,

the U.S. Embassy in Doha, the U.S. Embassy in Abu Dhabi, the U.S. Embassy in Beijing, the U.S.

Consulate in Shanghai, the U.S. Embassy in Seoul, the U.S. Embassy in Singapore, the Bureau of

East Asian and Pacific Affairs, and the Bureau of Near Eastern Affairs. Id. ¶ 13.




                                                  5
   Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 6 of 118 PageID #:115



       23.       A Department specialist knowledgeable of both the request and the State Archiving

System searched for documents containing any of the following terms and found no responsive

records:

             •   “Abu Dhabi” and “University”
             •   “New York University”
             •   “University” and “Singapore”
             •   “Wharton”
             •   “University of Chicago”
             •   “Stanford”
             •   “Georgia Tech”
             •   “Johns Hopkins”
             •   “MIT”
             •   “Duke”
             •   “Qatar” and “University”
             •   “Weill”
             •   “Cornell Medical College”
             •   “Texas A&M”
             •   “Carnegie Mellon University”
             •   “Georgetown”
             •   “Education City” and “Qatar”
             •   “Northwestern”
             •   “SUNY Korea”
             •   “George Mason Korea”
             •   “University of Utah” within 2 words of (“w/2”) “Asia”
             •   “Wenzhou-Kean”
             •   “Duke” w/2 “Kunshan”
             •   “NYU-Shanghai”
             •   “New York University” w/2 “Shanghai”
             •   “Hopkins” w/2 “Nanjing”
             •   “University of Chicago” w/2 “Shanghai”
             •   “Savannah College” w/2 “Hong Kong”

Id. ¶¶ 34-35.




                                                 6
   Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 7 of 118 PageID #:116



       24.       A Department specialist knowledgeable of both the request and the Retired Records

Inventory Management System conducted a search of the system using the following terms and

found no responsive records:

             •   “Abu Dhabi” and “University”
             •   “New York University”
             •   “University” and “Singapore”
             •   “Wharton”
             •   “University of Chicago”
             •   “Stanford”
             •   “Georgia Tech”
             •   “Johns Hopkins”
             •   “MIT”
             •   “Duke”
             •   “Qatar” and “University”
             •   “Weill”
             •   “Cornell Medical College”
             •   “Texas A&M”
             •   “Carnegie Mellon University”
             •   “Georgetown”
             •   “Education City” and “Qatar”
             •   “Northwestern”
             •   “SUNY Korea”
             •   “George Mason Korea”
             •   “University of Utah” and “Asia”
             •   “Wenzhou-Kean”
             •   “Duke” and “Kunshan”
             •   “NYU-Shanghai”
             •   “New York University” and “Shanghai”
             •   “Hopkins” and “Nanjing”
             •   “University of Chicago” and “Shanghai”
             •   “Savannah College” and “Hong Kong”

Id. ¶¶ 36-37.

       25.       A Bureau of Diplomatic Security analyst knowledgeable of both the request and

the relevant records systems searched certain locations in the Policy and Planning Division within

                                                 7
   Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 8 of 118 PageID #:117



the Office of Management for documents containing the combination of terms (“University” or

“College Campus Overseas”) and (“Creation” or “Establishment” or “Setup” or “Assistance”) and

found no responsive records. Id. ¶¶ 38, 40. An officer knowledgeable of the request and the

relevant records systems also searched certain locations in the Overseas Security Advisory Council

within the Threat Investigations and Analysis Directorate for documents containing the

combination of terms (“Education City” or “Qatar Foundation” or “Abu Dhabi” or “Singapore”)

and (“University” or “College Campus”) and found no responsive records. Id. ¶¶ 39-40. That

officer also searched for documents containing the terms “Assistance” or “University” and found

no responsive records. Id.

       26.       An officer knowledgeable of both the request and the records system of the U.S.

Embassy in Doha, Qatar, searched certain locations in the Embassy for documents containing the

terms “Education City” or “Qatar Foundation” and found no responsive records. Id. ¶ 41.

       27.       An officer knowledgeable of both the request and the records system of the U.S.

Embassy in Abu Dhabi, United Arab Emirates, searched certain locations in the Embassy for

documents containing the terms “University,” “U.S. University,” “Branch Campus,” “Education

City,” or “Campus,” and found no responsive records. Id. ¶¶ 42-43.

       28.       An officer knowledgeable of both the request and the records system of the U.S.

Embassy in Beijing, China, searched certain locations in the Embassy for documents containing

any of the following terms and found no responsive records:

             •   “Kean University”
             •   “Wenzhou-Kean”
             •   “Duke University”
             •   “Duke-Kunshan”
             •   “NYU-Shanghai”
             •   “New York University”
             •   “Hopkins-Nanjing”

                                                8
   Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 9 of 118 PageID #:118



              •   “University of Chicago”
              •   “Savannah College”

Id. ¶ 44.
        29.       Three Department employees knowledgeable of both the request and the records

systems of the U.S. Consulate in Shanghai, China, searched certain locations in the Consulate for

documents containing any of the following terms and found no responsive records:

              •   “Kean University”
              •   “Wenzhou-Kean”
              •   “Duke University”
              •   “Duke-Kunshan”
              •   “NYU-Shanghai”
              •   “New York University”
              •   “Hopkins-Nanjing”

Id. ¶ 45.
        30.       An officer knowledgeable of both the request and the records systems of the U.S.

Embassy in Seoul, South Korea, searched certain locations in the Embassy for documents

containing the terms “Songdo,” “SUNY Korea,” “George Mason Korea,” or “Utah Asia” and

found no responsive records. Id. ¶ 46.

        31.       An officer knowledgeable of both the request and the records systems of the U.S.

Embassy in Singapore searched certain locations in the Embassy for documents containing the

combination of terms (“College” or “University”) and (“Establish” or “Assistance” or

“Agreement”) and “Campus” and “Singapore” and found no responsive records. Id. ¶ 47.

        32.       An officer knowledgeable of both the request and the records systems of the Office

of Korean Affairs within the Bureau of East Asian and Pacific Affairs’ searched certain locations

within the Office for documents containing the term “University” and found no responsive records.

Id. ¶¶ 48-49.



                                                  9
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 10 of 118 PageID #:119



       33.     An officer knowledgeable of both the request and the records systems of the Office

of Maritime of Southeast Asia within the Bureau of East Asian and Pacific Affairs’ searched

certain locations within the Office for documents containing the term “University” and found no

responsive records. Id. ¶¶ 48, 50.

       34.     An officer knowledgeable of both the request and the records systems of the Office

of Arabian Peninsula Affairs within the Bureau of Near Eastern Affairs’ searched certain locations

within the Office for documents containing the terms (“University” and “Abu Dhabi”) or

(“Campus” and “Abu Dhabi”) and found no responsive records. Id. ¶ 51.

       35.     The Department also contacted the following offices and bureaus, who confirmed

that they were not reasonably likely to maintain records responsive to the request because the topic

of the request was not within the scope of their work: the Policy, Planning, and Resources Office

of the Office of the Undersecretary for Public Diplomacy; the Office of the Chief of Protocol; the

Bureau of Intelligence and Research; the Office of Overseas Schools in the Bureau of

Administration; the Office of Language Services in the Bureau of Administration; the White House

Liaison’s Office (which reports to the Office of the Undersecretary for Management); the Bureau

of Budget and Planning (same); the Bureau of Budget and Planning (same); the Bureau of

International Information Programs; the Bureau of Educational and Cultural Affairs; and the

Office of Policy planning Staff in the Office of the Secretary. Id. ¶ 52.

       36.     On December 5, 2017, the Department informed Stevens by letter that it had

completed its search and found no records responsive to the request. Id. ¶ 9.

                                      Request F-2015-03575

       37.     Stevens submitted a third FOIA request to the Department on February 18, 2015,

seeking documents maintained by either the U.S. Agency International Development (USAID)



                                                 10
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 11 of 118 PageID #:120



and its components or the Middle East Partnership Initiative (MEPI) and its components regarding

government funds transferred to the Independent Center of Journalists, Northwestern University

and its components, and the Center(s) for Journalism Excellence. Id. ¶ 10. The Department

assigned control number F-2015-03575 to the request. Id.

       38.     After filing this lawsuit, Stevens agreed to narrow her request to read:

               1) All contracts, memoranda, reports, notes, email, documents/correspondence
                  sent to and from USAID and any other material in any medium produced,
                  received or maintained by the Middle East Partnership Initiative and its
                  components from January 1, 2004 to present concerning U.S. Government
                  funds transferred to the Independent Center of Journalists.

               2) All contracts, memoranda, reports, notes, email, documents/correspondence
                  sent to and from USAID or any other material in any medium produced,
                  received or maintained by the Middle East Partnership Initiative and its
                  components from January 1, 2004 to present concerning Northwestern
                  University and its components, including but not limited to the Medill School
                  of Journalism.

               3) All contracts, memoranda, reports, notes, email, documents/correspondence set
                  to and from USAID and any other material in any medium produced, received
                  or maintained by the Middle East Partnership Initiative and its components from
                  January 1, 2004 to present concerning Center(s) of Journalism Excellence.

Id.

       39.     The Department determined that the Retired Records Inventory Management

System and the Bureau of Near Eastern Affairs (in which MEPI is located) were reasonably likely

to have documents responsive to Request F-2015-03575. Id. ¶ 13.

       40.     A specialist with knowledge of both the request and the Retired Records Inventory

Management System conducted a search of the system using the terms, “MEPI,” “Northwestern,”

“Medill,” “Center for Journalism Excellence,” or “Independent Center of Journalists,” and found

no responsive records. Id. ¶ 53.




                                                11
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 12 of 118 PageID #:121



       41.     A specialist knowledgeable of both the request and the records systems of the

Office of Assistance Coordination within the Bureau of Near Eastern Affairs searched certain

locations in the Office for documents containing the terms “Northwestern,” “Medill,”

“Independent Center of Journalists,” “Center of Journalism Excellence,” “Center,” or

“Journalism” and retrieved 23 responsive documents. Id. ¶ 54-56.

       42.     The department produced responsive documents on June 9, 2017; July 7, 2017;

January 4, 2018; and May 17, 2018. Id. ¶ 10.

                         FOIA Exemption 1 – Classified Information

       43.     The Department and DIA withheld information under Exemption 1, 5 U.S.C.

§ 522(b)(1). Ex. A (Stein Dec.) ¶¶ 57-71; Ex. B (Williams Dec.) ¶¶ 4-13. The Department and

DIA have determined that the information withheld under Exemption 1 continues to meet the

classification criteria of Executive Order 13526, including information currently classified at the

“Secret” and “Confidential” levels. Id.; see also Vaughn index (Ex. 1 to Stein Dec.).

                   FOIA Exemption 3 – Information Protected by Statute

       44.      DIA has withheld information under Exemption 3, 5 U.S.C. § 552(b)(3). Ex. B

(Williams Dec.) ¶¶ 14-17. DIA has withheld information about the agencies, countries, and

organizations with which DIA shares intelligence information, because revealing that information

would give insight into how DIA fulfills its intelligence-collection function and would reveal

intelligence sources and methods. Id. DIA has also withheld phone numbers, email addresses,

and office symbols, which individually and combined would shed light on its organizational

structure and function. Id.




                                                12
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 13 of 118 PageID #:122



                          FOIA Exemption 4 – Business Information

       45.     The Department has withheld information under Exemption 4, 5 U.S.C.

§ 552(b)(4). Ex. A (Stein Dec.) ¶¶ 72-74. As detailed in the Department’s Vaughn index, the

Department has withheld commercial information that was voluntarily submitted by an individual

to demonstrate the type of courses she could teach for an event held by the U.S. Embassy in Doha.

Id. Due to the submission’s voluntary nature, the Department found the information privileged

and confidential within the meaning of Exemption 4 because the information would not

customarily be disclosed to the public. Id.

                          FOIA Exemption 5 – Litigation Privileges

       46.     The Department has withheld information under Exemption 5’s deliberative-

process privilege, 5 U.S.C. § 552(b)(5).      Ex. A (Stein Dec.) ¶¶ 75-78. As detailed in the

Department’s Vaughn index, the Department has withheld drafts of official Department

communications such as cables and PowerPoint presentations that contain the author’s

recommendations regarding what text and information the documents should include; internal

Department discussions, recommendations, and opinions regarding potential agendas for people

visiting Doha, Qatar; assessments and opinions by Department employees regarding whom to

include on these agendas; and a briefing paper for a senior agency official that was drafted to

inform and advise him on his approach to meeting with a foreign counterpart. Id.

                            FOIA Exemption 6 – Personal Privacy

       47.     The Department has withheld information under Exemption 6, 5 U.S.C.

§ 552(b)(6). Id. ¶¶ 79-81. As detailed in the Department’s Vaughn index, the Department has

found that a personal privacy interest exists in the withheld information and that the personal

privacy interest outweighed the public interest in the information’s disclosure.       Id.   The



                                                13
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 14 of 118 PageID #:123



Department determined that there is no public interest in the information’s release, because

releasing the information would shed no light on the Department’s operations and activities. Id.

                                             Summary

        48.    The Department conducted a thorough search of all Department locations that were

reasonably likely to contain records responsive to Stevens’s FOIA requests. Id. ¶ 82.

        49.    For request F-2015-03180, the Department retrieved 421 responsive records. Of

those records, the Department released 101 in full, released 299 in part, and withheld 20 in full.

Additionally, one document sent for direct reply to the Defense Intelligence Agency was denied

in full. Id.

        50.    For request F-2015-03181, the Department found no responsive records. Id.

        51.    For request F-2015-03575, the Department retrieved 33 responsive records. Of

those records, the Department released 29 in full, released 2 in part, and withheld 2 in full. Id.

        52.    The Department has carefully reviewed all of documents containing exempt

information for reasonable segregation of non-exempt information and has implemented

segregation where possible. For the documents withheld in full, the Department has determined

that it cannot segregate meaningful information without disclosing information warranting

protection under the law. Id. ¶ 83.




                                                 14
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 15 of 118 PageID #:124



       53.    DIA has carefully reviewed the document it withheld line-by-line for reasonably

segregable information and has determined that it cannot reasonably segregate portions of the

document. Ex. B (Williams Dec.) ¶ 18.

                                          Respectfully submitted,

                                          JOHN R. LAUSCH, Jr.
                                          United States Attorney

                                          By: s/ Alex Hartzler
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                                             15
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 16 of 118 PageID #:125




              Exhibit A
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 17 of 118 PageID #:126



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JACQUELINE STEVENS,                               )
                                                   )
                                Plaintiff,         )
                                                   )
                                                       No. 17 C 2494
                       v.                          )
                                                   )
                                                       Judge Lee
 UNITED STATES DEPARTMENT OF                       )
 STATE,                                            )
                                                   )
                                Defendant.         )


       Pursuant to 28 U.S.C. § 1746, I, Eric F. Stein, declare and state as follows:

       1.      I am the Director of the Office of Information Programs and Services (“IPS”) of

the United States Department of State (the “Department”) and have served in this capacity since

January 22, 2017. Previously, I was the Acting Co-Director since March 21, 2016. I am the

Department official immediately responsible for responding to requests for records under the

Freedom of Information Act (the “FOIA”), 5 U.S.C. § 552, the Privacy Act of 1974, 5 U.S.C. §

552a, and other applicable records access provisions. Prior to serving in this capacity, from

April 2013, I worked directly for the Department’s Deputy Assistant Secretary (“DAS”) for

Global Information Services (“GIS”) and served as a senior advisor and deputy to the DAS on all

issues related to GIS’ offices and programs, which include IPS. As the Director of IPS, I have

original classification authority, and I am authorized to classify and declassify national security

information. I make the following statements based upon my personal knowledge, which in turn

is based upon information furnished to me in the course of my official duties. I am familiar with

the efforts of Department personnel to process the subject requests, and I am in charge of

coordinating the agency’s search and recovery efforts with respect to those requests.

                                                  1
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 18 of 118 PageID #:127



        2.         The core responsibilities of IPS include: (1) responding to records access requests

made by the public (including under the FOIA, the Privacy Act, and the mandatory

declassification review requirements of the Executive Order governing classified national

security information), by members of Congress, by other government agencies, and those made

pursuant to judicial process such as subpoenas, court orders and discovery requests; (2) records

management; (3) privacy protection; (4) national security classification management and

declassification review; (5) corporate records archives management; (6) research; (7) operation

and management of the Department’s library; and (8) technology applications that support these

activities.

        3.         This declaration explains the Department’s search for records responsive to

Plaintiff’s three FOIA requests and the FOIA exemptions applied in processing the responsive

records produced to Plaintiff. Additionally, the Plaintiff in this matter provided the Department a

list of withholdings in records responsive to her request that she is challenging. A Vaughn Index

(Exhibit 1) provides a detailed description of that withheld information and the justifications for

those withholdings.

              I.     ADMINISTRATIVE PROCESSING OF PLAINTIFF’S REQUESTS

                                         Request F-2015-03180

        4.         Plaintiff submitted a FOIA request to the Department on February 11, 2015,

(Exhibit 2), seeking:

        All State HQ and consular Qatar materials in all systems [sic.] records and elsewhere
        referencing Northwestern University’s Qatar campus. Material requested includes but is
        not limited to memorandums, cables or e-mails, notes, reports, correspondence with other
        agencies, members of Congress (or staff), and private firms or individuals.

The timeframe of the request was January 1, 2005, to present.


                                                    2
    Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 19 of 118 PageID #:128



        5.      By letter dated February 12, 2015 (Exhibit 3), IPS acknowledged receipt of

Plaintiff’s FOIA Request and assigned it Case Control Number F-2015-03180. Before the

Complaint in this matter was filed, the Department made two productions of responsive

documents to Plaintiff by letters dated March 23, 2016, and June 13, 2016 (Exhibits 4-5).

Additionally, one document was referred to the Defense Intelligence Agency for direct reply to

Plaintiff. The Defense Intelligence Agency replied to Plaintiff on June 28, 2017, denying in full

the release of that document.

        6.      After the Complaint in this matter was filed, the Department informed Plaintiff in

August of 2017 that the Department’s search for documents responsive to Request F-2015-03180

had located a large number of potentially responsive documents. The parties agreed that the

Department could further narrow the results of these searches and reduce the number of

documents that it must process in response to Plaintiff’s request by applying certain keywords1 to

the initial search results.

        7.      After the Complaint was filed in this matter, the Department made ten

productions of responsive documents to Plaintiff by letters dated June 9, 2017; July 7, 2017;




1
 These keywords included the following: “offset*,” “contract*,” “agreement*,” “censor*,” “Al Jazeera,”
“request for Proposal*,” “intelligence,” “boeing,” “natural gas,” “optics,” “RFP,” “sales,” “weapons,”
“train*,” “Bienen,” “Dennis,” “arrest,” “jail,” “image,” “general dynamics,” and “caterpillar.”

                                                  3
    Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 20 of 118 PageID #:129



August 7, 2017; September 6, 2017; October 5, 2017; November 6, 2017; December 5, 20172;

January 4, 20183; February 5, 2018; and May 17, 2018. (Exhibits 6-15).

                                         Request F-2015-03181

        8.      Plaintiff submitted another FOIA request to the Department on February 11, 2015

(Exhibit 16), seeking policy and planning materials pertaining to establishing U.S. universities

abroad. The Department assigned the request Case Control Number F-2015-03181 (Exhibit 17).

After Plaintiff filed her Complaint, she agreed to narrow her request to the following:

                [A]ll *policy and planning materials* pertaining to *establishing
                U.S. university campuses in Qatar, Abu Dhabi, South Korea,
                China, and Singapore.

The timeframe of the request was January 1, 2003, to present.

        9.      By letter dated December 5, 2017 (Exhibit 18), the Department informed Plaintiff

that it had completed its search and found no records responsive to her request.

                                         Request F-2015-03575

        10.     Plaintiff submitted a third FOIA request to the Department on February 18, 2015

(Exhibit 19), seeking documents maintained by either the U.S. Agency International

Development (“USAID”) and its components, or the Middle East Partnership Initiative (“MEPI”)

and its components concerning government funds transferred to the Independent Center of

Journalists, Northwestern University and its components, and the Center(s) for Journalism




2
 The letter accompanying this production stated that the Department was releasing 12 documents in full
and denying two documents in full in response to Plaintiff’s request on that date. In fact, 8 documents
were released in full and three documents were denied in full as part of that production.
3
  The letter accompanying this production stated that the Department was releasing 30 documents in part
in response to Plaintiff’s request on that date. In fact, 29 documents were released in part as part of that
production.
                                                      4
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 21 of 118 PageID #:130



Excellence. The Department assigned this request Case Control Number F-2015-03575 (Exhibit

20) on February 26, 2015. After Plaintiff filed her Complaint, Plaintiff acknowledged that

requests for documents generated by USAID had to be directed to USAID, and agreed to narrow

her request to the following:

       1) All contracts, memoranda, reports, notes, email, documents/correspondence sent to
          and from USAID and any other material in any medium produced, received or
          maintained by the Middle East Partnership Initiative and its components from January
          1, 2004 to present concerning U.S. Government funds transferred to the Independent
          Center of Journalists.

       2) All contracts, memoranda, reports, notes, email, documents/correspondence sent to
          and from USAID or any other material in any medium produced, received or
          maintained by the Middle East Partnership Initiative and its components from January
          1, 2004 to present concerning Northwestern University and its components, including
          but not limited to the Medill School of Journalism.

       3) All contracts, memoranda, reports, notes, email, documents/correspondence sent to
          and from USAID and any other material in any medium produced, received or
          maintained by the Middle East Partnership Initiative and its components from January
          1, 2004 to present concerning Center(s) of Journalism Excellence.

       The Department made four productions of responsive documents to Plaintiff by letters

dated June 9, 2017, July 7, 2017, January 4, 2018, and May 17, 2018 (Exhibits 21-24).

                                 II. THE SEARCH PROCESS

       11.     When the Department receives a FOIA request, IPS evaluates the request to

determine which offices, overseas posts, or other records systems within the Department are

reasonably likely to contain the records requested. This determination is based on the

description of the records requested and requires a familiarity with the holdings of the

Department’s records systems, applicable records disposition schedules, and the substantive and

functional mandates of numerous Department offices and Foreign Service posts and missions.




                                                 5
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 22 of 118 PageID #:131



        12.        Each office within the Department, as well as each Foreign Service post and

mission, maintains files concerning foreign policy and other functional matters related to the

daily operations of that office, post, or mission. These files consist generally of working copies

of documents, information copies of documents maintained in the State Archiving System, and

other documents prepared by or furnished to the office in connection with the performance of its

official duties.

        13.        After reviewing Plaintiff’s requests and consulting with several offices and

bureaus within the Department, IPS determined that the following offices or records systems

were reasonably likely to have documents responsive to Plaintiff’s requests:

              a. Request F-2015-03180: the State Archiving System, the Retired Records

                   Inventory Management System, the U.S. Embassy in Doha, the Bureau of

                   Diplomatic Security, the Bureau of Near Eastern Affairs, the Bureau of

                   International Information Programs, the Policy and Planning Staff, and the Office

                   of the Undersecretary for Management;

              b. Request F-2015-03181: the State Archiving System, the Retired Records

                   Inventory Management System, the Bureau of Diplomatic Security, the U.S.

                   Embassy in Doha, the U.S. Embassy in Abu Dhabi, the U.S. Embassy in Beijing,

                   the U.S. Consulate in Shanghai, the U.S. Embassy in Seoul, the U.S. Embassy in

                   Singapore, the Bureau of East Asian and Pacific Affairs, and the Bureau of Near

                   Eastern Affairs; and

              c. Request F-2015-03575: the Retired Records Inventory Management System and

                   the Bureau of Near Eastern Affairs in which MEPI is located.



                                                    6
    Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 23 of 118 PageID #:132



                                   A. REQUEST F-2015-031804

                                      State Archiving System

        14.     The State Archiving System (“SAS”) provides the capability to query over 40

million records through a single interface. These records include those documents that discuss or

define foreign policy, set precedents, or require action or use by more than one office. More

specifically, SAS provides search capability and access to (a) the official record copies of almost

all incoming and outgoing cables between the Department and Foreign Service posts; (b)

diplomatic notes; (c) correspondence to and from the White House, members of Congress, and

other federal agencies; (d) position papers and reports; (e) memoranda of conversations; (f)

interoffice memoranda; and (g) retired permanent records maintained in the electronic Records

Service Center. The records contained within SAS are commonly referred to as the “Central

Foreign Policy Files” or the “Central File.” SAS generally allows the Department to conduct

full-text searches of records. For all documents in the Central File that are not directly full-text

searchable through SAS, including some older correspondence, SAS will search the text of a

customized reference index that directs a searcher to a full copy of the document.

        15.     An IPS Government Information Specialist, who was knowledgeable of both the

request and the SAS records system, conducted a search using the term “Northwestern.” This

search retrieved 25 responsive documents.

                   The Retired Records Inventory Management System




4
 The following sections describe the Department’s initial search for documents responsive to Request F-
2015-03180. During the course of it processing of this request, the Department applied additional
keywords to narrow the results of these searches. See supra n. 1.
                                                   7
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 24 of 118 PageID #:133



       16.     The Department’s Retired Record Inventory Management System (“RIMS”) is a

searchable database that automates the processing of records retired to the Records Service

Center and tracks the status of all boxes received at the Records Service Center from the point of

receipt to ultimate disposition. IPS Government Information Specialists can search both the full-

text of the retired file manifests as well as the metadata (i.e., database fields) in the RIMS

database. The retired file manifests serve as an index of the contents of retired paper and

electronic files and are used to direct a researcher to particular file folders or documents in

retired files. On occasion, manifests do not contain sufficient detail to indicate the exact contents

maintained under a given subject. Therefore, when any potentially responsive files are

identified, those files or boxes must be retrieved for a more detailed manual search of their entire

contents.

       17.     An IPS Government Information Specialist, who was knowledgeable of both the

request and the RIMS system, conducted a search using the term “Northwestern.” No responsive

records were identified as a result of that search.

                                 U.S. Embassies and Consulates

       18.     In general, U.S. embassies conduct activities that are aimed at promoting U.S.

foreign policy objectives and protecting both U.S. interests and U.S. citizens overseas. These

embassies and consulates employ Foreign Service Officers and Specialists, as well as locally

employed staff. Each embassy and consulate has unique staffing patterns and records

management systems. All of the individuals who conducted the searches of the U.S. embassies

and consulates at issue were knowledgeable about the records systems of their respective posts.




                                                  8
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 25 of 118 PageID #:134



                                 U.S. Embassy in Doha, Qatar

       19.     An Information Management Officer (“IMO”), who was knowledgeable of both

the request and Embassy Doha records systems, searched the electronic unclassified and

classified email records of employees in the Public Affairs Section, Economic Section, and

Political section using the search term “Northwestern.” He also searched the Embassy’s shared

drives and all print and exchange servers using the term “Northwestern.” No date restrictions

were applied to these searches. As a result of these searches and after IPS applied key words

provided by Plaintiff, Embassy Doha’s search yielded 396 responsive documents.

                                Bureau of Diplomatic Security

       20.     The Bureau of Diplomatic Security (“DS”) is responsible for providing a safe and

secure environment for the conduct of U.S. foreign policy. Every U.S. diplomatic mission

operates under a security program designed and maintained by DS. DS’s Freedom of

Information and Privacy Act Office (“DS/MGT/FOIA-PA”) reviews all incoming FOIA

requests, determines which DS components are reasonably likely to have responsive records, and

then tasks those components with performing searches.

       21.     The Threat Investigations and Analysis Directorate (“DS/TIA”) is comprised of

the Office of Intelligence and Threat Analysis, Diplomatic Security Command Center, Office of

Overseas Security, and the Office of Protective Intelligence Investigations. DS/TIA analyzes,

assesses, and disseminates information to protect American interests worldwide. DS/TIA

investigates, mitigates, and manages threats to enhance the safety and security of those engaged

in U.S. diplomacy. The Overseas Security Advisory Council (“DS/TIA/OSAC”) exists to

promote security cooperation with U.S. private-sector interests worldwide. DS/TIA/OSAC’s

goal is to support U.S. organizations by sharing timely and actionable security information and

                                                9
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 26 of 118 PageID #:135



developing efficient and cost-effective communication networks that provide the private sector

with the tools needed to address security-related issues in a foreign environment.

       22.     The Office of the Executive Director (“DS/EX”) is comprised of the Office of

Management, the Chief Financial Office, and the Human Resources Management Division. The

Office of Management (“DS/EX/MGT”) provides a broad range of essential management

services and administrative functions in support of the Bureau of Diplomatic Security’s strategic

goals, which include: (1) improving and enhancing DS infrastructure to support global mission

activities; and, (2) developing and leading a diverse, uniquely skilled professional workforce.

The mission of the Policy and Planning Division (“DS/MGT/PPD”) within the Office of

Management is to provide high quality expertise, articulation and counsel in policy, strategic

planning, and evaluation in support of Diplomatic Security (DS) operations worldwide.

       23.     A Policy Analyst in DS/TIA, who was knowledgeable of the FOIA request at

issue and the record systems of both DS/TIA/OSAC and DS/MGT/PPD, conducted a search of

the unclassified and classified DS/TIA/OSAC and DS/MGT/PPD network shared drives using

the search terms “Northwestern” or “University.” The DS/TIA/OSAC search was limited to

January 2010, the earliest date that records were available in this office, through the date of the

search. No date restrictions were applied to the DS/MGT/PPD search. No responsive

documents were retrieved as a result of these searches.

                                 Bureau of Near Eastern Affairs

       24.     The Bureau of Near Eastern Affairs (“NEA”) is charged with advising the

Secretary of State on matters in North Africa and the Middle East. Regional policy issues that

NEA handles include Iran, Iraq, peace in the Middle East, terrorism and weapons of mass

destruction, and political and economic reform. The Office of Arabian Peninsula Affairs

                                                 10
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 27 of 118 PageID #:136



(“NEA/ARP”) is responsible for the assisting and promoting diplomatic issues associated with

Bahrain, Kuwait, Oman, Qatar, Saudi Arabia, the United Arab Emirates, and Yemen.

        25.       A Special Adviser responsible for Qatari affairs in NEA/ARP, who was

knowledgeable of both the FOIA request at issue and NEA/ARP’s records systems, conducted

searches of his unclassified and classified email records and the NEA/ARP network shared drive

using the search term “Northwestern University.” The search was limited to January 1, 2003,

through the date of the search. No responsive records were located as a result of this search.

                          Bureau of International Information Programs

        26.       The Bureau of International Information Programs (“IIP”) provides the

Department with a worldwide outreach platform for public diplomacy. This bureau partners with

policy experts and missions abroad to design and execute outcome-oriented programs that

engage foreign audiences to advance U.S. foreign policy. A Special Adviser in IIP, who was

knowledgeable of both the FOIA request at issue and IIP’s records systems, conducted a search

of his unclassified email records, cloud-based platforms, and the IIP network shared drive using

the search term “Northwestern University.” These searches were limited to the date range of

January 1, 2005, through the date of the search. No responsive records were located as a result

of this search.

        27.       The Office of the U.S. Speaker Program in IIP works with posts to arrange in-

country and virtual programs that enable more than 600 American experts to engage foreign

audiences directly on U.S. foreign policy priorities. The Director of the Office of the U.S.

Speaker Program, who was knowledgeable of both the FOIA request at issue and the U.S.

Speaker Program’s records systems, conducted a search of her unclassified email records, and

the U.S. Speaker Program’s shared database, Tracker II. Tracker II retains data on programs

                                                  11
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 28 of 118 PageID #:137



implemented by the U.S. Speaker Program. The search terms used were “Qatar,” “Doha,”

“Northwestern,” “Film,” or “Richard Pena.” The search was limited to January 1, 2005, through

the date the search was conducted. No responsive records were located as a result of these

searches.

                                       Policy Planning Staff

       28.       The Policy Planning Staff (“S/P”) serves as a source of independent policy

analysis and advice for the Secretary of State. S/P’s mission is to take a longer term, strategic

view of global trends and frame recommendations for the Secretary of State to advance U.S.

interests and American values. The work of S/P is divided into six areas: analysis, special

projects, policy coordination, policy articulation, liaison, planning talks, and dissent.

       29.       An employee in S/P, who was knowledgeable of both the FOIA request at issue

and S/P’s records systems conducted a search of the unclassified and classified S/P network

shared drives using the following search terms:

                “Northwestern”
                “University”
                “Campus”
                “Qatar”
                “Doha”
       30.       These searches were limited to January 1, 2005, through the date of the search.

No responsive records were located as a result of these searches.

                           Office of the Undersecretary for Management

       31.       The Under Secretary for Management (“M”) oversees the activities of ten bureaus

and offices that are responsible for management improvement initiatives; security; the

Department's information technology infrastructure; support services for domestic and overseas

                                                  12
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 29 of 118 PageID #:138



operations; consular affairs; and personnel matters, including, recruitment, career development,

training, medical services, and retirement programs.

       32.        The Under Secretary for Management, who was knowledgeable of both the

request and the M records systems, conducted a search of unclassified state.gov email records

and Everest using the term “Northwestern.” These searches were limited to the date range of

December 19, 2005, through June 28, 2015. No responsive records were located as a result of

these searches.

 Bureaus and Offices not Reasonably Likely to Maintain Records Responsive to Requests

       33.        IPS undertook further efforts to locate records to request F-2015-03180 by

contacting the offices and bureaus listed below. Each of these offices and bureaus confirmed

that they were not reasonably likely to maintain records responsive to this request because the

topic of this request was not within the scope of their work:


                 The Policy, Planning, and Resources Office of the Office of the Under Secretary
                  for Public Diplomacy

                 The Office of the Chief of Protocol

                 The Bureau of Intelligence and Research

                 The Office of Overseas Schools in the Bureau of Administration

                 The Office of Language Services in the Bureau of Administration

                 The White House Liaison’s Office, which reports to the Office of the
                  Undersecretary for Management

                 The Office of Management Policy, Rightsizing, and Innovation, which reports to
                  the Office of the Undersecretary for Management

                 The Bureau of Budget and Planning, which reports to the Office of the
                  Undersecretary for Management.


                                                  13
    Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 30 of 118 PageID #:139



                 The Bureau of the Comptroller and Global Financial Services, which reports to
                  the Office of the Undersecretary for Management

                 The Bureau of Educational and Cultural Affairs5

As a result, the Department did not conduct searches of these offices and bureaus for records

responsive to request F-2015-03180.

                                     B. REQUEST F-2015-03181

                                       State Archiving System

        34.       An IPS Government Information Specialist, who was knowledgeable of both the

request and the SAS records system, conducted searches in SAS using the following terms or

combination of terms:

             “Abu Dhabi” and “University”
             “New York University”
             “University” and “Singapore”
             “Wharton”
             “University of Chicago”
             “Stanford”
             “Georgia Tech”
             “Johns Hopkins”
             “MIT”
             “Duke”
              “Qatar” and “University”
             “Weill”
             “Cornell Medical College”
             “Texas A&M”
             “Carnegie Mellon University”
             “Georgetown”




5
 In its March 23, 2016, letter to Plaintiff, the Department stated it had conducted searches of the Bureau
of Budget and Planning, the Bureau of Educational and Cultural Affairs, and the Office of the
Comptroller & Global Financial Services. In fact, these offices had not conducted searches, but instead
had confirmed to IPS that they were not reasonably likely to have records responsive to this request.
                                                    14
    Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 31 of 118 PageID #:140



               “Education City” and “Qatar”
              “Northwestern”
              “SUNY Korea”
              “George Mason Korea”
              “University of Utah” w/26 “Asia”
               “Wenzhou-Kean”
               “Duke” w/2 “Kunshan”
              “NYU-Shanghai”
              “New York University” w/2 “Shanghai”
              “Hopkins” w/2 “Nanjing”
              “University of Chicago” w/2 “Shanghai”
              “Savannah College” w/2 “Hong Kong”

         35.     No responsive records were located as a result of these searches.


                          The Retired Records Inventory Management System

         36.     An IPS Government Information Specialist, who was knowledgeable of the FOIA

request and the RIMS database, searched RIMS using the following terms or combination of

terms:

              “Abu Dhabi” and “University”
              “New York University”
              University and Singapore
              “Wharton”
              “University of Chicago”
              “Stanford”
              “Georgia Tech”
              “Johns Hopkins”
              “MIT”
              “Duke”
               “Qatar” and “University”



6
 The use of “w/2”in SAS allows for searches to locate documents in which terms are within two words of
each other.

                                                  15
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 32 of 118 PageID #:141



               “Weill”
               “Cornell Medical College”
               “Texas A&M”
               “Carnegie Mellon University”
               “Georgetown”
                “Education City” and “Qatar”
               “Northwestern”
               “SUNY Korea”
               “George Mason Korea”
                “University of Utah” and “Asia”
                “Wenzhou-Kean”
                “Duke” and “Kunshan”
               “NYU-Shanghai”
               “New York University” and “Shanghai”
               “Hopkins” and “Nanjing”
               “University of Chicago” and “Shanghai”
               “Savannah College” and “Hong Kong”

          37.     No responsive records were located as a result of these searches.

                                   Bureau of Diplomatic Security

          38.     A DS Policy Analyst who was knowledgeable of the FOIA request at issue and

DS/MGT/PPD’s record systems conducted a search of DS/MGT/PPD’s unclassified and

classified shared drives and Office Sharepoint site using the following combination of search

terms (“University” or “College Campus Overseas”) and (“Creation” or “Establishment” or

“Setup” or “Assistance”). These searches were restricted to January 2003 through the date of the

search.

          39.     A Foreign Affairs Officer who was knowledgeable of the FOIA request at issue

and DS/TIA/OSAC’s record systems conducted a search of the DS/TIA/OSAC unclassified and

classified shared drives and OSAC.gov records repository using the following combination of

search terms (“Education City” or “Qatar Foundation” or “Abu Dhabi” or “Singapore”) and

                                                  16
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 33 of 118 PageID #:142



(“University” or “College Campus”). The Foreign Affairs Officer also conducted searches using

the terms “Assistance” and “University.” These searches were limited to January 2010, the

earliest date that records were available in this office, through the date of the search.

       40.     No responsive records were located as a result of these searches.


                               U.S. Embassy in Doha, Qatar
       41.     An Information Management Officer (“IMO”), who was knowledgeable of both

the request and Embassy Doha’s records systems, searched electronic unclassified and classified

email records of employees in the Public Affairs Section, Economic Section, and Political

Section. The IMO also searched all of Embassy Doha’s shared drives and print and exchange

servers. The IMO used the terms “Education City” or “Qatar Foundation,” in each search. No

date restrictions were applied to these searches. No responsive records were located as a result

of these searches.

                        U.S. Embassy in Abu Dhabi, United Arab Emirates

       42.     A Cultural Affairs Officer and Cultural Specialist, who were knowledgeable of

both the request and Embassy Abu Dhabi’s records systems searched the Public Affairs and

Public Diplomacy Sections of the Embassy. Educational and Cultural Affairs matters are

maintained within the portfolio of the Public Affairs and Public Diplomacy Sections.

       43.     The Cultural Affairs Officer and Cultural Specialist in the Public Affairs Section

searched their unclassified email records. Additionally, the Cultural Affairs Officer searched the

shared drives of the Public Affairs and Public Diplomacy sections, from January 1, 2005, the

earliest date available at Embassy Abu Dhabi, through the date of the search. The Cultural

Affairs Officer also searched the paper files of the Public Affairs and Public Diplomacy sections

from January 1, 2013, the earliest date of records available at Embassy Abu Dhabi, through the
                                                  17
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 34 of 118 PageID #:143



date of the search. The searches of paper files, unclassified email records, and shared drives

used the terms “University,” “U.S. University,” “Branch Campus,” “Education City,” or

“Campus.” No responsive records were located as a result of these searches.

                                  U.S. Embassy in Beijing, China

       44.      A Cultural Affairs Officer, an Information Systems Officer, and an Office

Management Specialist, who were knowledgeable of both the FOIA request at issue and

Embassy Beijing’s records systems, searched the paper files of the Public Affairs Officers,

Education Officer, and Grant Files; the unclassified email and .pst files of the Senior Cultural

Affairs Officer, Public Affairs Officer, and the Education Officer; and the shared drives for the

Public Affairs Section, the Economic Section, the Political Section, and the Executive Office

using the following search terms:

            “Kean University”
            “Wenzhou-Kean”
            “Duke University”
            “Duke-Kunshan”
            “NYU-Shanghai”
            “New York University”
            “Hopkins-Nanjing”
            “University of Chicago”
            “Savannah College”


These searches were limited to January 1, 2003, through the date they were conducted. No

responsive records were located as a result of these searches.


                                 U.S. Consulate in Shanghai, China



                                                18
    Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 35 of 118 PageID #:144



        45.      An Information Management Specialist, an Acting Cultural Affairs Officer, and a

Program Assistant, who were knowledgeable of both the FOIA request at issue and Consulate

Shanghai’s records systems, conducted searches of their unclassified email records, and shared

drives of the Public Affairs Section, the Economic Section, the Political Section, and the

Executive Office using the following search terms7:

             “Kean University”
             “Wenzhou-Kean”
             “Duke University”
             “Duke-Kunshan”
             “NYU-Shanghai”
             “New York University”
             “Hopkins-Nanjing”


No date restrictions were applied to the electronic or paper searches. No responsive records were

located as a result of these searches.

                                  U.S. Embassy in Seoul, South Korea

        46.      The Cultural Affairs Officer in the Public Affairs Section, who was

knowledgeable of both the FOIA request at issue and Embassy Seoul’s records systems,

conducted searches of his unclassified email records and the Public Affairs Section’s shared

drive using the search terms “Songdo,” “SUNY Korea,” “George Mason Korea,” or “Utah Asia.”

There was no date range restriction applied to the shared drive search. The e-mail search was

limited to June 1, 2015, the date of the arrival of the Cultural Affairs Officer at Embassy Seoul,




7
 Consulate Shanghai’s search terms were limited, as some of the universities pertinent to the Embassy in
Beijing were not active in Shanghai’s consular district.
                                                   19
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 36 of 118 PageID #:145



through the date the search was conducted. Paper records of the Public Affairs Section were not

searched because these records would already be captured in the electronic search. No

responsive records were located as a result of these searches.

                                     U.S. Embassy in Singapore

        47.       An Information Management Officer, who was knowledgeable of both the FOIA

request at issue and Embassy Singapore’s records systems, conducted searches of the paper files,

unclassified email records, and shared drives for the Public Affairs Section, Economic Section,

Political Section, and Executive Office for documents responsive to the following combination

of search terms (“College” or “University”) and (“Establish” or “Assistance” or “Agreement”)

and “Campus” and “Singapore.” No responsive records were located as a result of these

searches.

                             Bureau of East Asian and Pacific Affairs

        48.       The Bureau of East Asian and Pacific Affairs (“EAP”) is charged with advising

the Secretary of State on U.S. foreign policy and U.S. relations with the countries in the Asia-

Pacific region.

        49.       The Office of Korean Affairs (“EAP/K”) manages U.S. foreign policy in relation

to the Republic of Korea and the Democratic People’s Republic of Korea. The Deputy Director

of the Office of Korea, who was knowledgeable of both the FOIA request at issue and EAP/K’s

records systems, conducted a search of the EAP/K network shared drive using the search term

“University.” This search was limited to the date range of January 1, 2000, through the date on

which the search was conducted. EAP/K does not have any paper files for the time period of the

request; all records are maintained electronically. No responsive records were located as a result

of this search.

                                                 20
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 37 of 118 PageID #:146



       50.      A Singapore Desk Officer in the Office of Maritime of Southeast Asia

(“EAP/MTS”), who was knowledgeable of both the FOIA request at issue and EAP/MTS’s

records systems, conducted a search of her unclassified and classified email records and the

EAP/MTS unclassified and classified shared drives using the search term “University.” The

Desk Officer’s email search was limited to the beginning of his employment in EAP/MTS,

January 1, 2017, through the date on which the search was conducted. The searches of the

EAP/MTS’s shared drives were limited to January 1, 2003, through the date on which the search

was conducted. No responsive records were located as a result of these searches.

                                 Bureau of Near Eastern Affairs

       51.      The United Arab Emirates Desk Officer in the Office of Arabian Peninsula

Affairs (“NEA/ARP”), who was knowledgeable of both the FOIA request at issue and

NEA/ARP’s records systems, conducted searches of her unclassified and classified email

records, NEA/ARP paper files, and the NEA/ARP shared drive using the search term

combinations (“University” and “Abu Dhabi”) or (“Campus” and “Abu Dhabi”). The search was

limited to January 1, 2003, through the date on which the search was conducted. No responsive

records were located as a result of these searches.

 Bureaus and Offices not Reasonably Likely to Maintain Records Responsive to Requests

       52.      IPS undertook further efforts to locate records to request F-2015-03181 by

contacting the offices and bureaus below. Each of these offices and bureaus confirmed that they

were not reasonably likely to maintain records responsive to this request because the topics of

this request were not within the scope of their work.

            The Policy, Planning, and Resources Office of the Office of the Under Secretary for
             Public Diplomacy


                                                 21
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 38 of 118 PageID #:147



            The Office of the Chief of Protocol

            The Bureau of Intelligence and Research

            The Office of Overseas Schools in the Bureau of Administration

            The Office of Language Services in the Bureau of Administration

            The White House Liaison’s Office, which reports to the Office of the Undersecretary
             for Management

            The Bureau of Budget and Planning, which reports to the Office of the
             Undersecretary for Management.

            The Bureau of International Information Programs

            The Bureau of Educational and Cultural Affairs

            The Office of Policy Planning Staff in the Office of the Secretary

        As a result, the Department did not conduct searches of these offices and bureaus for

records responsive to request F-2015-03181.

                                   C. REQUEST F-2015-03575

                        The Retired Records Inventory Management System

       53.      An IPS Government Information Specialist with knowledge of the FOIA request

and RIMS searched RIMS using the following terms:

            “MEPI”
            “Northwestern”
            “Medill”
            “Center of Journalism Excellence”
            “Independent Center of Journalists”


No responsive records were located as a result of these searches.

                                 Bureau of Near Eastern Affairs


                                                   22
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 39 of 118 PageID #:148



       54.     The Bureau of Near Eastern Affairs, Office of Assistance Coordination

(“NEA/AC”) was created in 2014 to coordinate and align U.S. assistance in the Middle East and

North Africa with U.S. foreign policy priorities and regional economic, security, governance and

stabilization needs. NEA/AC also directly programs and oversees critical projects across the

region. The Middle Eastern Partnership Initiative (“MEPI”) is housed in NEA/AC. NEA/AC

staff are also assigned to two regional MEPI offices based at US Embassies in Kuwait and Rabat

to program and oversee $9 million in grants annually to local civil society organizations.

       55.     Award documents from NEA/AC are stored on the NEA/AC shared drives and

the Assistance Coordination Performance Reporting System (“ACPRS”).

       56.     A Grants Management Specialist in NEA/AC, who was knowledgeable of both

the FOIA request at issue and NEA/AC’s records systems, conducted searches of the relevant

Program Officer’s e-mail records, the NEA/AC network shared drive, and the ACPRS using the

search terms “Northwestern,” “Medill,” or “Independent Center of Journalists.” The Grants

Management Specialist also searched the terms “Center of Journalism Excellence,” “Center,” or

“Journalism” in the NEA/AC network shared drive and in the ACPRS. These searches were

limited to January 1, 2003, through the date of the search. As a result of these searches,

NEA/AC located 33 responsive documents.

                           II.     FOIA EXEMPTIONS CLAIMED

                             FOIA Exemption 1 – Classified Information

       57.     5 U.S.C. § 552(b)(1) states that the FOIA does not apply to matters that are:

               (A) specifically authorized under criteria established by Executive order (“E.O.”)
               to be kept secret in the interest of national defense or foreign policy and (B) are in
               fact properly classified pursuant to such Executive order.



                                                 23
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 40 of 118 PageID #:149



          58.   Based upon my personal review of the documents and information furnished to

me in the course of my official duties, including the sources of the information marked as

classified, I have determined that the information withheld under Exemption 1, 5 U.S.C. §

552(b)(1), continues to meet the classification criteria of E.O. 13526. This includes information

currently classified at the SECRET and CONFIDENTIAL levels. Section 1.2 of E.O. 13526

states:

                “Secret” shall be applied to information regarding intelligence sources and
                methods, potential military plans or operations, and foreign relations or foreign
                activities of the U.S. government, the release of which reasonably could be
                expected to cause exceptionally grave damage to the national security.


                “Confidential” shall be applied to information, the unauthorized
                disclosure of which reasonably could be expected to cause damage
                to the national security that the original classification authority is
                able to identify or describe.


          59.   Section 6.1(l) of E.O. 13526 defines “damage to the national security” as follows:

                “Damage to the national security” means harm to the national defense or foreign
                relations of the United States from the unauthorized disclosure of information,
                taking into consideration such aspects of the information as the sensitivity, value,
                utility, and provenance of that information.

          60.   Information withheld in this case under Exemption 1 is properly classified

pursuant to Sections 1.4(b) and 1.4(d) of E.O. 13526. Section 1.4 states:

                Information shall not be considered for classification unless its unauthorized
                disclosure could reasonably be expected to cause identifiable or describable
                damage to the national security in accordance with section 1.2 of this order, and it
                pertains to one or more of the following: . . .(b) foreign government information
                …(d) foreign relations or foreign activities of the United States, including
                confidential sources . . . .




                                                  24
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 41 of 118 PageID #:150



       61.     For information to be properly classified and withheld from disclosure pursuant to

Exemption 1, the information must meet all of the following requirements set forth in Section

1.1(a) of E.O. 13526:

               (1) an original classification authority is classifying the information;
               (2) the information is owned by, produced by or for, or is under the control of the
                   United States Government;
               (3) the information falls within one or more of the categories listed in section 1.4
                   of [E.O. 13526]; and
               (4) the original classification authority determines that the unauthorized
                   disclosure of the information reasonably could be expected to result in
                   damage to the national security, which includes defense against transnational
                   terrorism, and the original classification authority is able to identify or
                   describe the damage.

       62.     In my role as an original classification authority, I have determined that the

information withheld pursuant to Exemption 1 meets these criteria. It is under the control of the

United States Government, falls within Sections 1.4(b) and (d) of E.O. 13526, and requires

classification at the CONFIDENTIAL or SECRET level because its unauthorized disclosure

reasonably could be expected to cause damage or exceptionally grave damage to national

security.

       63.     Section 1.7(d) of E.O. 13526 contemplates that in certain situations decisions to

classify or reclassify information may be made after the information has been requested under

the FOIA. In January of 2016 in the course of processing records that were responsive to

Request F-2015-03180, pursuant to the provisions of Section 1.7(d), the Department properly

classified as SECRET or CONFIDENTIAL certain information in four documents that was

originally UNCLASSIFIED Additionally, in May of 2018, the Department properly classified as

SECRET or CONFIDENTIAL, pursuant to Section 1.7(d), information in two documents that

was previously classified but that had passed its declassification date.


                                                 25
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 42 of 118 PageID #:151



       64.     The Department’s Senior Agency Official responsible for directing and

administering the Department’s information security program under Section 5.4(d) of Executive

Order 13526 is the Under Secretary of State for Management. See 22 C.F.R. § 9.3. The Under

Secretary for Management has delegated the authority for classifying or reclassifying

information under Sections 1.7(d) to the DAS for GIS and to the Director of IPS. Under

standard procedures, all recommendations to classify information come to the DAS or IPS

Director after review by subject matter experts and, when considered appropriate, also by

officials in the offices in the Department with current responsibility for the subject of the

information, in addition to other agency representatives as appropriate. In reaching a decision

whether to classify, the classifying official carefully scrutinizes the documents and the

information at issue and then determines whether the information should be classified.

       65.      In connection with my official duties in supervising the Department’s responses

to FOIA requests, I have been informed that in January of 2016 the previous DAS for GIS, Ms.

Margaret Grafeld, personally reviewed the previously unclassified information in four

documents and determined their current classification status, consistent with Section 1.1(a) of

Executive Order 13526.

       66.     I have apprised the Acting Under Secretary for Management, Ambassador

William Todd, of Ms. Grafeld’s decision to classify the aforementioned documents in

accordance with E.O. 13526, Section 1.7(d). I will also apprise Ambassador Todd of my

decision in May of 2018 to classify information in two documents in accordance with E.O.

13526, Section 1.7(d).



                         Section 1.4(b) Foreign Government Information

                                                 26
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 43 of 118 PageID #:152



       67.     Section 6.1(s) of E.O. 13526 defines “foreign government information” to

include:

              (1) information provided to the United States Government by a
       foreign government or governments, an international organization of
       governments, or any element thereof, with the expectation that the
       information, the source of the information, or both, are to be held in
       confidence;
               (2) information produced by the United States Government pursuant
       to or as a result of a joint arrangement with a foreign government or
       governments, or an international organization of governments, or any
       element thereof, requiring that the information, the arrangement, or both,
       are to be held in confidence; or
              (3) information received and treated as “foreign government
       information” under the terms of a predecessor order.
       68.     Section 1.1(d) of E.O. 13,526 states:

               The unauthorized disclosure of foreign government information is
               presumed to cause damage to the national security.

       69.     The ability to obtain information from foreign governments is essential to the

formulation and successful implementation of U.S. foreign policy. Release of foreign

government information provided in confidence, either voluntarily by the Department or by

order of a court, would cause foreign officials to believe that U.S. officials are not able or willing

to observe the confidentiality expected in such exchanges. Governments could reasonably be

expected to be less willing in the future to furnish information important to the conduct of U.S.

foreign relations, and in general be less disposed to cooperate with the United States in the

achievement of foreign policy objectives of common interest. Protecting foreign government

information, and in some cases even the fact that information has been provided, is critical to our

diplomatic relationships and the conduct of foreign relations. As detailed in the attached Vaughn

Index, certain information withheld in this case is currently and properly classified pursuant to

                                                  27
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 44 of 118 PageID #:153



Section 1.4(b) of E.O. 13526 and is therefore exempt from disclosure under Exemption 1, 5

U.S.C. § 552(b)(1).

         Section 1.4(d) - Foreign Relations or Foreign Activities of the United States

       70.    Diplomatic exchanges are premised upon, and depend upon, an expectation of

confidentiality. Mutual trust between governments in this realm is vital to U.S. foreign relations.

The inability of the United States to maintain confidentiality in its diplomatic exchanges would

inevitably chill relations with other governments, and could reasonably be expected to damage

U.S. national security by diminishing our access to vital sources of information.

       71.    Some of the withheld information is classified under Section 1.4(d) of E.O. 13526.

This information concerns both confidential sources and sensitive aspects of U.S. foreign

relations. Release of this classified information has the potential to inject friction into, or cause

damage to, a number of our bilateral relationships with Middle Eastern countries whose

cooperation is important to U.S. national security, including some in which public opinion might

not currently favor close cooperation with the United States. Moreover, the risk of harm to

national security from disclosure of this information is exacerbated by the political and security

instability in the region in question, such that release of this information could pose a direct

threat to the national security of the United States. As detailed in the attached Vaughn Index,

certain information withheld in this case is currently and properly classified pursuant to Section

1.4(d) of E.O. 13526 and is therefore exempt from disclosure under Exemption 1, 5 U.S.C. §

552(b)(1).

                               FOIA Exemption 4 – Business Information

       72.      5 U.S.C. § 552(b)(4) states that the FOIA does not apply to matters that are:



                                                  28
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 45 of 118 PageID #:154



               trade secrets and commercial or financial information obtained from a person and
               privileged or confidential;

       73.     This exemption is intended to protect the interests of both the government and

submitters of information. The exemption covers two broad categories of information in federal

agency records: (1) trade secrets; and (2) information that is (a) commercial or financial, and (b)

obtained from a person, and (c) privileged or confidential. Its very existence encourages

submitters to voluntarily furnish useful commercial or financial information to the government

and it correspondingly provides the government with an assurance that such information will be

reliable. The exemption also affords protection to those submitters who are required to furnish

commercial or financial information to the government by safeguarding them from the

competitive disadvantages that could result from disclosure.

       74.     The Department withheld commercial information that was voluntarily submitted

by an individual to demonstrate the type of courses she could teach for an event held by the U.S.

Embassy in Doha. Due to the voluntary nature the submission, the Department found that this

information is privileged and confidential within the meaning FOIA Exemption 4, 5 U.S.C. §

552(b)(4) because this information would not customarily be disclosed to the public. See

Critical Mass Energy Project v. NRC, 975 F.2d 871 (D.C. Cir. 1992). The basses for the

Department’s withholdings are described further in the attached Vaughn Index.

                           FOIA Exemption 5 – Litigation Privileges

       75.     5 U.S.C. § 552(b)(5) states that the FOIA does not apply to:

               inter-agency or intra-agency memoranda or letters which would not be
               available by law to a party other than an agency in litigation with the
               agency....




                                                 29
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 46 of 118 PageID #:155



       76.     Exemption 5, 5 U.S.C. § 552(b)(5), protects from disclosure information that is

normally privileged in the civil discovery context, including information that is protected by the

deliberative process, attorney-client, and attorney work product privileges. The deliberative

process privilege protects the confidentiality of candid views and advice of U.S. Government

officials in their internal deliberations related to policy formulation and administrative direction.

       77.     The Department withheld information, as detailed in the attached Vaughn Index,

on the basis of this exemption in a number of documents in this case pursuant to the deliberative

process privilege. For example, certain information withheld in response to Plaintiff’s FOIA

request consists of drafts of official Department communications such as cables and powerpoints

that contain the author’s recommendations regarding what text and information the documents

should include. Other withheld material contains internal Department discussions,

recommendations, and opinions regarding potential agendas for organizations and individuals

visiting Doha, Qatar. This material includes Department employees’ assessments and opinions

regarding which individual and groups to include on these agendas. The Department also

withheld a briefing paper for a senior agency official that was drafted in order to inform and

advise him on his approach to a meeting with a foreign counterpart.

       78.     This material contains details of internal discussions held in the course of

formulating a policy and agency action and is pre-decisional and deliberative. Its disclosure

could reasonably be expected to chill the open and frank exchange of comments and opinions

that occurs between Department officials at these critical times. In addition, disclosure of these

details would severely hamper the ability of responsible Department officials to formulate and

carry out executive branch programs. The withheld information is, accordingly, exempt from

release under Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege.

                                                  30
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 47 of 118 PageID #:156



                                       FOIA Exemption 6

       79.    5 U.S.C. § 552(b)(6) states that the FOIA does not apply to:

               …personnel and medical files and similar files the disclosure of
               which would constitute a clearly unwarranted invasion of personal
               privacy....
       80.     The courts have interpreted the language of Exemption 6 broadly to encompass all

information that applies to an individual without regard to whether it was located in a particular

type of file. The Department has withheld, among other pieces of information, the names,

résumés, job applications, citizenship status, educational and work history, and e-mail addresses

of private individuals. The Department also withheld the personal family information of a

Department employee.

        81.    Inasmuch as the information the Department withheld under Exemption 6 is

personal to an individual, a personal privacy interest exists in the information. The Department

is required to balance the privacy interests of individuals whose information appears in these

records against any public interest in disclosure. As the Supreme Court noted in U.S. Dep’t of

Justice v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 780 (1989), “as a

categorical matter . . . a third party’s request for law enforcement records or information about a

private citizen can reasonably be expected to invade that citizen’s privacy.” Thus that invasion

of a private citizen’s right to privacy is balanced with the extent to which the information in

question would inform the general public about the U.S. Government’s performance of its

mission to enforce federal criminal and civil statutes, as well as administrative rules and federal

regulations. As explained further in the attached Vaughn Index, the Department determined that

the individual privacy interest outweighed the public interest in the information withheld under

FOIA Exemption 6. Indeed, the Department determined that there is no public interest in such

                                                 31
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 48 of 118 PageID #:157



information because release of the information would shed no light on the Department’s

operations and activities. In each instance, the privacy interests clearly outweigh any public

interest in disclosure. Thus, release of this information would constitute a clearly unwarranted

invasion of personal privacy, and the information is therefore exempt from release under FOIA

Exemption 6, 5 U.S.C. § 552(b)(6).

                                       IV. CONCLUSION

       82.     In summary, the Department conducted a thorough search of all Department

locations that were reasonably likely to contain records responsive to Plaintiff’s FOIA Request.

For Request F-2015-03180, the Department retrieved 421 responsive records. Of those records,

101 were released in full, 299 were released in part, and 20 were denied in full by the

Department. Additionally, one document sent for direct reply to the Defense Intelligence

Agency was denied in full. For Request F-2015-03575, the Department retrieved 33 responsive

records. Of those records, 29 were released in full, 2 were released in part, and 2 were denied in

full. No responsive records were located for Request F-2015-03181.

       83.     The Department has carefully reviewed all of the documents addressed herein for

reasonable segregation of non-exempt information and has implemented segregation when

possible. Otherwise, the Department determined that no segregation of meaningful information

in the documents could be made without disclosing information warranting protection under the

law.




                                                32
  Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 49 of 118 PageID #:158




                                                    ***

      I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



                     Executed this   Jqfh    day of May 2018, Washington, D.C.




                                              Eric F. Stein




                                               33
                       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 50 of 118 PageID #:159




                                           Stevens v. U.S. Dep’t of State, No. 17-cv-024941

                                                        FOIA Request F-2015-03180

                                                                                                                                   State FOIA
                                                                                                                    Review         Exemptions
Doc. No.                        Doc Type          Pages     Date/Date Range      Author(s)/Recipient(s)             Result         Claimed
(1)
C06339690                       Draft memo        2         1/12/2017            Department officials               Denied in    (b)(5),
                                                                                                                    Full (“DIF”) Deliberative
                                                                                                                                 Process Privilege
                                                                                                                                 (“DPP”)
DESCRIPTION: This document is a draft action memo providing a recommendation to the Ambassador concerning a requested speaking
engagement. The document contains redline edits. The Department withheld the document in full under Freedom of Information Act (“FOIA”)
Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. Release of the withheld material, which is pre-decisional and
deliberative with respect to a final determination on whether to pursue the particular option under consideration, would reveal the details of
intra-agency discussions regarding a proposed course of action. Disclosure of this information would impede the ability of responsible executive
branch officials to formulate and carry out programs by inhibiting candid discussion and the expression of recommendations and judgments
regarding future courses of action. For these reasons, the withheld information is exempt from disclosure under FOIA Exemption 5, pursuant to
the deliberative process privilege. The Department conducted a line-by-line review of the document and determined that there is no
meaningful, non-exempt information that can be reasonably segregated and released.
(2-3)
C06340036                        Employment       7         December 2015        Individual                        DIF           (b)(6)
(attached to C06340035)          Application
C06340206
(attached to C06340205)

1
 This Vaughn Index describes withholdings that Plaintiff noted she is challenging. If a described withholding is not challenged by Plaintiff, that is
also noted. The Department released the information under challenge in documents C06339759, C06339995, C06341506, C06341507, and
C06341508. As a result, there are no withholdings pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, described for those
documents in this Vaughn Index. Document C06339759 was previously denied in full to Plaintiff.
                                                                        1
                                                                                                                      Stevens v. U.S. Dep’t of State
                                                                                                                                  No. 17-cv-02494
                                                                                                                                      Vaughn Index
                                                                                                                                           Exhibit 1
                       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 51 of 118 PageID #:160



                                                                                                                                  State FOIA
                                                                                                                    Review        Exemptions
Doc. No.                        Doc Type          Pages      Date/Date Range Author(s)/Recipient(s)                 Result        Claimed
DESCRIPTION: These documents are duplicate applications for employment with the Department. The Department withheld the documents in
full under FOIA Exemption 6, 5 U.S.C. § 552(b)(6), because disclosure of this information would reveal the applicant’s personally identifiable
information including, but not limited to, name, birthplace, address, Social Security number, phone numbers, and educational background.
Release of this information could subject the individual to identity theft, unwanted attention, or harassing or unsolicited communications. In the
absence of any indication that the applicant was selected, the Department determined that release of this information would not shed light on
the operations of the U.S. Government. As a result, release of this information would constitute an unwarranted invasion of personal privacy,
and the information is exempt from disclosure under FOIA Exemption 6. The Department conducted a line-by-line review of the documents and
determined that there is no additional meaningful, non-exempt information that can be reasonably segregated and released.
(4-6)
C06340037                       Resume            2          Undated              Individual                        DIF           (b)(6)
(attached to C06340035)
C06340207
(attached to C06340205)
C06343861
(attached to C06343861)
DESCRIPTION: These documents are resumes submitted as part of applications for employment with the Department. Documents C06340037
and C06340207 are duplicates of each other. The Department withheld the documents in full under FOIA Exemption 6, 5 U.S.C. § 552(b)(6),
because disclosure of this information would reveal personally identifiable information including, but not limited to, the individuals’ name,
address, phone numbers and educational/professional background. Release of this information could subject the individuals to identity theft,
unwanted attention, or harassing or unsolicited communications. In the absence of any indication that the applicants were selected the
Department determined that release of this information would not shed light on the operations of the U.S. Government. As a result, release of
this information would constitute an unwarranted invasion of personal privacy, and the information is exempt from disclosure under FOIA
Exemption 6. The Department conducted a line-by-line review of the documents and determined that there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
(7)
C06340047                       Draft             20         April 2017           Department Officials              DIF           (b)(5), DPP
(attached to C06340046)         PowerPoint
DESCRIPTION: This document is a draft power point on U.S.-Qatar relations that was awaiting approval for use. The Department withheld the
document in full under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. Release of the withheld material,
                                                                           2
                                                                                                                       Stevens v. U.S. Dep’t of State
                                                                                                                                   No. 17-cv-02494
                                                                                                                                       Vaughn Index
                                                                                                                                            Exhibit 1
                       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 52 of 118 PageID #:161



                                                                                                                                   State FOIA
                                                                                                                     Review        Exemptions
Doc. No.                         Doc Type         Pages      Date/Date Range Author(s)/Recipient(s)                  Result        Claimed
which is pre-decisional and deliberative with respect to a final determination on the contents of the presentation and U.S. policy toward Qatar,
would reveal the author’s preliminary ideas and recommendations regarding the presentation and would reveal details of internal Department
discussions on how to prepare and pursue U.S. policy. Disclosure of this information would impede the ability of responsible executive branch
officials to formulate and carry out programs by inhibiting candid discussion and the expression of recommendations and judgments regarding
future courses of action. For these reasons, the withheld information is exempt from disclosure under FOIA Exemption 5, pursuant to the
deliberative process privilege. The Department conducted a line-by-line review of the document and determined that there is no meaningful,
non-exempt information that can be reasonably segregated and released.
(8-10)
C06340130                        Draft Cable      3          Undated             Department Officials                DIF           (b)(5), DPP
(attached to C06340129)
C06340384                                         5
(attached to C06340383)
C06343857                                         4
(attached to C06343855)
DESCRIPTION: These documents are draft texts of cables reporting on the effects of film diplomacy in Qatar. The Department withheld the
documents in full under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. Release of the withheld material,
which is pre-decisional and deliberative with respect to a final determination on the final text of the cables, would reveal the author’s
preliminary ideas regarding the cable and could reasonably be expected to have a chilling effect on the open and frank expression of ideas,
recommendations, and opinions that occurs when Department officials are crafting text regarding substantive foreign policy issues for
dissemination. Disclosure of this information would impede the ability of responsible executive branch officials to formulate and carry out
programs by inhibiting candid discussion and the expression of recommendations and judgments regarding future courses of action. For these
reasons, the withheld information is exempt from disclosure under FOIA Exemption 5, pursuant to the deliberative process privilege. The
Department conducted a line-by-line review of the documents and determined that there is no meaningful, non-exempt information that can be
reasonably segregated and released.
(11)
C06340769                        Course           65         Undated             Alix Madigan/ Embassy               DIF           (b)(4)
(attached to C06340765)          Handouts                                        Officials
DESCRIPTION: This document is a handout for a film class conducted by Ms. Alix Madigan, a film producer, which includes business plans and
other commercial documents related to film production. This class is normally taught for a fee and the associated material is not shared by Ms.
                                                                         3
                                                                                                                        Stevens v. U.S. Dep’t of State
                                                                                                                                    No. 17-cv-02494
                                                                                                                                        Vaughn Index
                                                                                                                                             Exhibit 1
                       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 53 of 118 PageID #:162



                                                                                                                                    State FOIA
                                                                                                                     Review         Exemptions
Doc. No.                         Doc Type           Pages      Date/Date Range Author(s)/Recipient(s)                Result         Claimed
Madigan beyond her students. The information was provided voluntarily to the Department by Ms. Madigan to demonstrate the types of
courses that she could teach for an Embassy event. The withheld information is commercial in nature because it relates to the individual’s paid
profession, and is the type of information that the individual does not customarily disclose to the public. For these reasons, the Department
found that this information is privileged and confidential within the meaning of Exemption 4, 5 U.S.C. § 552(b)(4). The Department conducted a
line-by-line review of the document and determined that there is no meaningful, non-exempt information that can be reasonably segregated
and released.
(12-13)
C06340770                        Syllabus           3          Undated             Alix Madigan/ Embassy             DIF            (b)(4)
(attached to C06340765)                                                            Officials
C06347365
(attached to C06347364)
DESCRIPTION: These documents are duplicate syllabi for a film class conducted by Ms. Alix Madigan that is normally taught for a fee and is not
shared by Ms. Madigan beyond students in her classes. The information was provided voluntarily to the Department by Ms. Madigan to
demonstrate the types of courses that she could teach for an Embassy event. The withheld information is commercial in nature because it
relates to the individual’s paid profession, and is also the type of information that the individual does not customarily disclose to the public. For
these reasons, the Department found that this information is privileged and confidential within the meaning of Exemption 4, 5 U.S.C. §
552(b)(4). The Department conducted a line-by-line review of the document and determined that there is no meaningful, non-exempt
information that can be reasonably segregated and released.
(14)
C06347167                        Draft Cable        11         Undated             Department Officials              DIF            (b)(5), DPP
(attached to C06347166)
DESCRIPTION: This document is a draft cable regarding the Qatari media environment. The Department withheld the document in full under
FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. Release of the withheld material, which is pre-decisional
and deliberative with respect to a final determination on the final text of the cable, would reveal the author’s preliminary ideas regarding the
cable and could reasonably be expected to have a chilling effect on the open and frank expression of ideas, recommendations, and opinions that
occurs when Department officials are crafting text regarding substantive foreign policy issues for dissemination. Disclosure of this information
would impede the ability of responsible executive branch officials to formulate and carry out programs by inhibiting candid discussion and the
expression of recommendations and judgments regarding future courses of action. For these reasons, the withheld information is exempt from
disclosure under FOIA Exemption 5, pursuant to the deliberative process privilege. The Department conducted a line-by-line review of the
                                                                           4
                                                                                                                        Stevens v. U.S. Dep’t of State
                                                                                                                                     No. 17-cv-02494
                                                                                                                                        Vaughn Index
                                                                                                                                              Exhibit 1
                      Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 54 of 118 PageID #:163



                                                                                                                                   State FOIA
                                                                                                                    Review         Exemptions
Doc. No.                         Doc Type          Pages     Date/Date Range Author(s)/Recipient(s)                 Result         Claimed
documents and determined that there is no meaningful, non-exempt information that can be reasonably segregated and released.
(15-18)
C06347177                        Draft Report      9         Undated              Department Officials              DIF            (b)(5), DPP
(attached to C06347176)
C06347179                                          9
(attached to C06347178)
C06347182                                          7
(attached to C06347181)
C06347184                                          5
(attached to C06347183)
DESCRIPTION: These documents are drafts outlining the content and language needed for an internal Department report, the Public Diplomacy
Country Context for Doha, Qatar (“PDCC”), and proposed text for the PDCC. These documents contain redline edits and editing comments. The
PDCC collects from U.S. Embassies and Consulates, otherwise known as posts, views of country-specific information related to public outreach
and engagement including demographics and analysis. It is designed to give interested stakeholders an immediate understanding of the
societal, political, economic, and cultural environments that exist within a country and of the key audiences a post is trying to reach. The
Department withheld the documents in full under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. Release
of the withheld material, which is pre-decisional and deliberative with respect to a final determination on the text of the report, would reveal
the authors’ preliminary ideas regarding the report and details of intra-agency discussions on U.S. strategic planning. Release could reasonably
be expected to have a chilling effect on the open and frank expression of ideas, recommendations, and opinions that occurs when Department
officials are developing a preferred course of action. Disclosure of this information would impede the ability of responsible executive branch
officials to formulate and carry out programs by inhibiting candid discussion and the expression of recommendations and judgments regarding
future courses of action. For these reasons, the withheld information is exempt from disclosure under FOIA Exemption 5, pursuant to the
deliberative process privilege. The Department conducted a line-by-line review of the document and determined that there is no meaningful,
non-exempt information that can be reasonably segregated and released.
(19-25)
C06347166                        E-mail            7          May-July 2016       Department Officials              Release in (b)(5), DPP
C06347171                                          7                                                                Part
C06347175                                          6                                                                (“RIP”)
C06347176                                          6
                                                                       5
                                                                                                                   Stevens v. U.S. Dep’t of State
                                                                                                                               No. 17-cv-02494
                                                                                                                                   Vaughn Index
                                                                                                                                        Exhibit 1
                       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 55 of 118 PageID #:164



                                                                                                                                    State FOIA
                                                                                                                        Review      Exemptions
Doc. No.                         Doc Type           Pages       Date/Date Range Author(s)/Recipient(s)                  Result      Claimed
C06347178                                           6
C06347181                                           5
C06347183                                           6
DESCRIPTION: These documents are intra-agency email exchanges with the subject line “RE: Relaunching the Public Diplomacy Country Context
(PDCC).” The Department withheld the documents in part under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process
privilege. The withheld information consists of back and forth discussion and deliberation regarding the research and drafting of the text of the
PDCC. Release of the withheld material, which is pre-decisional and deliberative with respect to a final determination on the researching,
drafting and final content of the PDCC, could reasonably be expected to chill the open and frank expression of ideas, recommendations, and
opinions that occur when Department officials are developing a preferred course of action content for Department principals. Disclosure of this
information would impede the ability of responsible executive branch officials to formulate and carry out programs by inhibiting candid
discussion and the expression of recommendations and judgments regarding future proposed courses of action. For these reasons, the withheld
information is exempt from disclosure under FOIA Exemption 5 pursuant to the deliberative process privilege. The Department conducted a
line-by-line review of the document and determined there is no meaningful, non-exempt information that can be reasonably segregated and
released.
(26)
C05829752                        Cable              4           01/31/2013          U.S. Embassy                        DIF            (b)(1), 1.4 (d);
                                                                                    Doha/Department                                    (b)(6)
DESCRIPTION: This document is a cable regarding the effects of education in Qatar. The document was originally and is currently classified as
CONFIDENTIAL. The Department withheld this document in full under FOIA Exemption 1, 5 U.S.C. § 552(b)(1), pursuant to E.O. 13526 section
1.4(d), which pertains to foreign relations or foreign activities of the United States, including confidential sources. The Department withheld
information in this document that concerns both confidential sources and sensitive aspects of U.S. foreign relations, including discussions of
sensitive national security topics involving U.S. interests in the Middle East. Confidentiality of this information is vital to the conduct of
successful foreign relations. In particular, U.S. Government officials must be able to conduct candid conversations with foreign leaders and
counterparts regarding sensitive national security topics without fear that those conversations will be made public. Disclosure of this
information at this time could have the potential to inject friction into, or cause serious damage to, a number of our bilateral relationships with
countries whose cooperation is important to U.S. national security. Moreover, the risk of harm to national security from disclosure of this
information is exacerbated by the political and security instability in the region in question, such that release of this information could pose a
direct threat to the national security of the United States.

                                                                           6
                                                                                                                         Stevens v. U.S. Dep’t of State
                                                                                                                                     No. 17-cv-02494
                                                                                                                                         Vaughn Index
                                                                                                                                              Exhibit 1
                        Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 56 of 118 PageID #:165



                                                                                                                                State FOIA
                                                                                                                 Review         Exemptions
Doc. No.                        Doc Type          Pages     Date/Date Range Author(s)/Recipient(s)               Result         Claimed
The Department also withheld the name of an education official under FOIA Exemption 6, 5 U.S.C. § 552(b)(6), because release of this
information could subject the individual to harassment or unwanted attention because of his relationship with the U.S. government regarding
the topics discussed in the cable. This information would not shed light on the operations of the U.S. Government. As a result, release of this
information would constitute an unwarranted invasion of personal privacy, and the information is exempt from disclosure under FOIA
Exemption 6. As a result, release of this information would constitute an unwarranted invasion of personal privacy, and the information is
exempt from disclosure under FOIA Exemption 6. The Department conducted a line-by-line review of the document and determined there is no
additional meaningful, non-exempt information that can be reasonably segregated and released.
(27)
C05829760                        Cable              3         01/17/2007            U.S. Embassy                        DIF           (b)(1), 1.4(b), (d);
                                                                                    Doha/Department                                   (b)(6)
DESCRIPTION: This document is a cable reporting on discussions between the U.S. Ambassador to Qatar and a Qatari Government official. The
document was originally and is currently classified as CONFIDENTIAL. The original declassification date for this document was January 17, 2017.
On May 9, 2018, in accordance with the requirements of Section 1.7(d) of E.O. 13526, the Department classified this document as
CONFIDENTIAL. The Department withheld this document in full under FOIA Exemption 1, 5 U.S.C. § 552(b)(1), pursuant to E.O. 13526 sections
1.4(b) and (d), which pertain to foreign government information and foreign relations or foreign activities of the United States, including
confidential sources. The ability to obtain information from foreign governments is essential to the formulation and successful implementation
of U.S. foreign policy. Release of the foreign government information in this document, either voluntarily by the Department or by order of a
court, would cause foreign officials to believe that U.S. officials are not able or willing to observe the confidentiality expected in such
interchanges. Governments could reasonably be expected to be less willing in the future to furnish information important to the conduct of U.S.
foreign relations, and in general less disposed to cooperate with the United States in the achievement of foreign policy objectives of common
interest. The Department also withheld information in this document that concerns both confidential sources and sensitive aspects of U.S.
foreign relations, including discussions of sensitive national security topics involving U.S. interests in the Middle East. Confidentiality of this
information is vital to the conduct of successful foreign relations. In particular, U.S. Government officials must be able to conduct candid
conversations with foreign leaders regarding sensitive national security topics without fear that those conversations will be made public.
Disclosure of this information at this time could have the potential to inject friction into, or cause serious damage to, a number of our bilateral
relationships with countries whose cooperation is important to U.S. national security, including some in which public opinion might not currently
favor close cooperation with the United States. Moreover, the risk of harm to national security from disclosure of this information is
exacerbated by the political and security instability in the region in question, such that release of this information could pose a direct threat to
the national security of the United States.
                                                                             7
                                                                                                                           Stevens v. U.S. Dep’t of State
                                                                                                                                        No. 17-cv-02494
                                                                                                                                           Vaughn Index
                                                                                                                                                 Exhibit 1
                            Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 57 of 118 PageID #:166



                                                                                                                                       State FOIA
                                                                                                                        Review         Exemptions
Doc. No.                              Doc Type            Pages   Date/Date Range   Author(s)/Recipient(s)              Result         Claimed

The Department also withheld personal information regarding an individual under FOIA Exemption 6, 5 U.S.C. § 552(b)(6), because release of this
information would reveal personal details concerning that individual’s life and would not shed light on the operations of the U.S. Government.
As a result, release of this information would constitute an unwarranted invasion of personal privacy, and the information is exempt from
disclosure under FOIA Exemption 6. The Department conducted a line-by-line review of the document and determined there is no additional
meaningful, non-exempt information that can be reasonably segregated and released.
(28)
C058297672                        Cable               5                              U.S. Embassy                       RIP           (b)(1), 1.4(b), (d);
                                                                                     Doha/Department                                  b(5) DPP
DESCRIPTION: This document is a cable regarding an upcoming visit to Qatar by the Assistant Secretary for Near Eastern Affairs. The document
was originally and is currently classified as SECRET. On November 3, 2015, the Department extended classification on this document at the
SECRET level. The Department withheld this document in full under FOIA Exemption 1, 5 U.S.C. § 552(b)(1), pursuant to E.O. 13526 sections
1.4(b) and (d), which pertain to foreign government information and foreign relations or foreign activities of the United States. The ability to
obtain information from foreign governments is essential to the formulation and successful implementation of U.S. foreign policy. Release of
the foreign government information in this document, either voluntarily by the Department or by order of a court, would cause foreign officials
to believe that U.S. officials are not able or willing to observe the confidentiality expected in such interchanges. Governments could reasonably
be expected to be less willing in the future to furnish information important to the conduct of U.S. foreign relations, and in general less disposed
to cooperate with the United States in the achievement of foreign policy objectives of common interest. The Department also withheld
information in this document that concern sensitive aspects of U.S. foreign relations, including discussions of sensitive national security topics
involving U.S. interests in the Middle East. Confidentiality of this information is vital to the conduct of successful foreign relations. In particular,
U.S. Government officials must be able to conduct candid conversations with foreign leaders regarding sensitive national security topics without
fear that those conversations will be made public. Disclosure of this information at this time could have the potential to inject friction into, or
cause serious damage to, a number of our bilateral relationships with countries whose cooperation is important to U.S. national security,
including some in which public opinion might not currently favor close cooperation with the United States. Moreover, the risk of harm to
national security from disclosure of this information is exacerbated by the political and security instability in the region in question, such that
release of this information could pose a direct threat to the national security of the United States.


2
    This document was previously denied in full to Plaintiff.
                                                                            8
                                                                                                                           Stevens v. U.S. Dep’t of State
                                                                                                                                       No. 17-cv-02494
                                                                                                                                           Vaughn Index
                                                                                                                                                Exhibit 1
                        Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 58 of 118 PageID #:167



                                                                                                                                      State FOIA
                                                                                                                       Review         Exemptions
Doc. No.                          Doc Type           Pages     Date/Date Range Author(s)/Recipient(s)                  Result         Claimed
The Department also withheld portions of this document under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process
privilege. The withheld material, which contains recommendations from Department employees to the Assistant Secretary regarding his visit to
Qatar, is pre-decisional and deliberative with respect to a final determination on what policies to pursue during the Assistant Secretary’s visit
and would reveal the details of internal Department discussions on how to prepare and pursue U.S. policy. Release of this information could
reasonably be expected to have a chilling effect on the open and frank expression of ideas, recommendations, and opinions that occurs when
Department officials are developing a preferred course of action and would impede the ability of responsible executive branch officials to
formulate and carry out programs by inhibiting candid discussion and the expression of recommendations and judgments regarding future
courses of action. For these reasons, the withheld information is exempt from disclosure under FOIA Exemption 5, pursuant to the deliberative
process privilege. The Department conducted a line-by-line review of the document and determined that there is no meaningful, non-exempt
information that can be reasonably segregated and released.
(29)
C05829754                         Cable              5         3/3/2014             U.S. Embassy                       RIP            (b)(1), 1.4(d); b(5)
                                                                                    Doha/Department                                   DPP
DESCRIPTION: This document is a cable with the subject line “Scenesetter for Commerce Secretary Pritzker’s Visit to Qatar.” Portions of the
document were originally and are currently classified SECRET. The Department withheld this document in part under FOIA Exemption 1, 5 U.S.C.
§ 552(b)(1), pursuant to E.O. 13526 section 1.4(d), which pertains to foreign relations or foreign activities of the United States. The withheld
information concerns sensitive aspects of U.S. foreign relations, including discussions of sensitive national security topics involving the political
climate and foreign policy in Qatar. Confidentiality of this information is vital to the conduct of successful foreign relations. In particular, U.S.
Government officials must be able to provide policymakers with candid assessments of the various nations or leaders with which the United
States conducts foreign relations without fear that those internal assessments will be made public. Disclosure of this information at this time
could have the potential to inject friction into, or cause serious damage to, a number of our bilateral relationships with countries whose
cooperation is important to U.S. national security, including some in which public opinion might not currently favor close cooperation with the
United States. Moreover, the risk of harm to national security from disclosure of this information is exacerbated by the political and security
instability in the region in question, such that release of this information could pose a direct threat to the national security of the United States.

The Department also withheld portions of this document under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process
privilege. Release of the withheld material, which contains recommendations from Department employees to the Commerce Secretary
regarding his visit to Qatar is pre-decisional and deliberative with respect to a final determination on what policies to pursue during the
Secretary’s visit to Qatar and would reveal the details of internal Department discussions on how to prepare and pursue U.S. policy. Release of
                                                                            9
                                                                                                                           Stevens v. U.S. Dep’t of State
                                                                                                                                       No. 17-cv-02494
                                                                                                                                           Vaughn Index
                                                                                                                                                Exhibit 1
                        Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 59 of 118 PageID #:168



                                                                                                                                     State FOIA
                                                                                                                       Review        Exemptions
Doc. No.                         Doc Type           Pages       Date/Date Range Author(s)/Recipient(s)                 Result        Claimed
this information could reasonably be expected to have a chilling effect on the open and frank expression of ideas, recommendations, and
opinions that occurs when Department officials are developing a preferred course of action and disclosure of this information would impede the
ability of responsible executive branch officials to formulate and carry out programs by inhibiting candid discussion and the expression of
recommendations and judgments regarding future courses of action. For these reasons, the withheld information is exempt from disclosure
under FOIA Exemption 5, pursuant to the deliberative process privilege. The Department conducted a line-by-line review of the document and
determined that there is no meaningful, non-exempt information that can be reasonably segregated and released.
(30)
C05829756                        Cable              5           5/8/2013            U.S. Embassy                       RIP           (b)(1), 1.4(d)
                                                                                    Doha/Department Officials
DESCRIPTION: This document is a cable with the subject line “Qatar: Healthy Debate on Restricted Media in Honor of World Press Freedom
Day.” Portions of the document were originally and are currently classified as CONFIDENTIAL. On January 8, 2016, in accordance with the
requirements of Section 1.7(d) of E.O. 13526, the Department classified portions of the document as CONFIDENTIAL that had been
UNCLASSIFIED. The Department withheld this document in part under FOIA Exemption 1, 5 U.S.C. § 552(b)(1), pursuant to E.O. 13526 section
1.4(d), which pertains to foreign relations or foreign activities of the United States, including confidential sources. The withheld information
concerns both confidential sources and sensitive aspects of U.S. foreign relations, including discussions of sensitive national security topics
involving U.S. interests in Qatar. This material reflects information about the nature of U.S. engagement with other countries and evaluations by
U.S. officials regarding those engagements. Confidentiality of this information is vital to the conduct of successful foreign relations. In
particular, U.S. Government officials must be able to provide policymakers with candid assessments of the various nations or leaders with which
the United States conducts foreign relations without fear that those internal assessments will be made public. Disclosure of this information at
this time could have the potential to inject friction into, or cause serious damage to, our bilateral relationship with Qatar whose cooperation is
important to U.S. national security with the United States. Moreover, the risk of harm to national security from disclosure of this information is
exacerbated by the political and security instability in the region in question, such that release of this information could pose a direct threat to
the national security of the United States. The Department conducted a line-by-line review of the document and determined there is no
additional meaningful, non-exempt information that can be reasonably segregated and released.
(31)
C05829757                        Cable              5           11/19/2014          U.S. Embassy                       RIP           (b)(1), 1.4(b), (d)
                                                                                    Doha/Department
DESCRIPTION: This document is a cable with the subject line “Scenesetter for Senator Barrasso’s November Visit to Qatar.” On January 8, 2016,
with the requirements of Section 1.7(d) of E.O. 13526, the Department classified portions of the document as CONFIDENTIAL that had been
                                                                           10
                                                                                                                          Stevens v. U.S. Dep’t of State
                                                                                                                                      No. 17-cv-02494
                                                                                                                                          Vaughn Index
                                                                                                                                                Exhibit 1
                        Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 60 of 118 PageID #:169



                                                                                                                                      State FOIA
                                                                                                                         Review       Exemptions
Doc. No.                          Doc Type            Pages      Date/Date Range Author(s)/Recipient(s)                  Result       Claimed
UNCLASSIFIED. The Department withheld this document in part under FOIA Exemption 1, 5 U.S.C. § 552(b)(1), pursuant to E.O. 13526 sections
1.4(b) and (d), which pertain to foreign government information and foreign relations or foreign activities of the United States, including
confidential sources. The ability to obtain information from foreign governments is essential to the formulation and successful implementation
of U.S. foreign policy. Release of the foreign government information in this document, either voluntarily by the Department or by order of a
court, would cause foreign officials to believe that U.S. officials are not able or willing to observe the confidentiality expected in such
interchanges. Governments could reasonably be expected to be less willing in the future to furnish information important to the conduct of U.S.
foreign relations, and in general less disposed to cooperate with the United States in the achievement of foreign policy objectives of common
interest. The Department also withheld information in this document that concerns both confidential sources and sensitive aspects of U.S.
foreign relations, including discussions of sensitive national security topics involving U.S. interests in Qatar and the Middle East in general.
Confidentiality of this information is vital to the conduct of successful foreign relations. In particular, U.S. Government officials must be able to
provide policymakers with candid assessments of the various nations or leaders with which the United States conducts foreign relations without
fear that those internal assessments will be made public. Disclosure of this information at this time could have the potential to inject friction
into, or cause serious damage to, a number of our bilateral relationships with countries whose cooperation is important to U.S. national security,
including some in which public opinion might not currently favor close cooperation with the United States. Moreover, the risk of harm to
national security from disclosure of this information is exacerbated by the political and security instability in the region in question, such that
release of this information could pose a direct threat to the national security of the United States. The Department conducted a line-by-line
review of the document and determined there is no additional meaningful, non-exempt information that can be reasonably segregated and
released.
(32)
C05829758                         Cable               4          6/26/2014            U.S. Embassy                       RIP          (b)(1), 1.4(b), (d)
                                                                                      Doha/Department
DESCRIPTION: This document is a cable with the subject line “Qatar: Scenesetter for June 27-28 Visit of Senator Graham.” On January 8, 2016,
in accordance with the requirements of Section 1.7(d) of E.O. 13526, the Department classified portions of the document as CONFIDENTIAL that
had been UNCLASSIFIED. The Department withheld this document in part under FOIA Exemption 1, 5 U.S.C. § 552(b)(1), pursuant to E.O. 13526
sections 1.4(b) and (d), which pertain to foreign government information and foreign relations or foreign activities of the United States. The
ability to obtain information from foreign governments is essential to the formulation and successful implementation of U.S. foreign policy.
Release of the foreign government information in this document, either voluntarily by the Department or by order of a court, would cause
foreign officials to believe that U.S. officials are not able or willing to observe the confidentiality expected in such interchanges. Governments
could reasonably be expected to be less willing in the future to furnish information important to the conduct of U.S. foreign relations, and in
                                                                           11
                                                                                                                          Stevens v. U.S. Dep’t of State
                                                                                                                                      No. 17-cv-02494
                                                                                                                                          Vaughn Index
                                                                                                                                               Exhibit 1
                        Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 61 of 118 PageID #:170



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Doc. No.                         Doc Type            Pages     Date/Date Range Author(s)/Recipient(s)                    Result        Claimed
general less disposed to cooperate with the United States in the achievement of foreign policy objectives of common interest. The Department
also withheld information in this document that concerns both confidential sources and sensitive aspects of U.S. foreign relations, including
discussions of sensitive national security topics involving U.S. interests in the Middle East. Confidentiality of this information is vital to the
conduct of successful foreign relations. In particular, U.S. Government officials must be able to provide policymakers with candid assessments of
the various nations or leaders with which the United States conducts foreign relations without fear that those internal assessments will be made
public. Disclosure of this information at this time could have the potential to inject friction into, or cause serious damage to, a number of our
bilateral relationships with countries whose cooperation is important to U.S. national security, including some in which public opinion might not
currently favor close cooperation with the United States. Moreover, the risk of harm to national security from disclosure of this information is
exacerbated by the political and security instability in the region in question, such that release of this information could pose a direct threat to
the national security of the United States. The Department conducted a line-by-line review of the document and determined there is no
additional meaningful, non-exempt information that can be reasonably segregated and released.
(33)
C05829759                        Cable               4         12/13/2013           U.S. Embassy                         RIP           (b)(1), 1.4(d)
                                                                                    Doha/Department
DESCRIPTION: This document is a cable with the subject line “Qatar: Ousted Media Freedom Advocate Questions Qatari Commitment to
Reform.” The document was originally and is currently classified as CONFIDENTIAL. The Department withheld this document in part under FOIA
Exemption 1, 5 U.S.C. § 552(b)(1), pursuant to E.O. 13526 section 1.4(d), which pertains to foreign relations or foreign activities of the United
States, including confidential sources. The Department withheld information in this document that concerns both confidential sources and
sensitive aspects of U.S. foreign relations, including discussions of sensitive national security topics involving U.S. interests in Qatar.
Confidentiality of this information is vital to the conduct of successful foreign relations. In particular, U.S. Government officials must be able to
conduct candid conversations with foreign counterparts regarding sensitive national security topics without fear that those conversations will be
made public. Disclosure of this information at this time could have the potential to inject friction into, or cause serious damage to, a number of
our bilateral relationships with countries whose cooperation is important to U.S. national security, including some in which public opinion might
not currently favor close cooperation with the United States. Moreover, the risk of harm to national security from disclosure of this information
is exacerbated by the political and security instability in the region in question, such that release of this information could pose a direct threat to
the national security of the United States. The Department conducted a line-by-line review of the document and determined there is no
additional meaningful, non-exempt information that can be reasonably segregated and released.
(34)
C05829768                        Cable               7         1/08/2008            U.S. Embassy                         RIP           (b)(1), 1.4 (b), (d);
                                                                            12
                                                                                                                             Stevens v. U.S. Dep’t of State
                                                                                                                                         No. 17-cv-02494
                                                                                                                                             Vaughn Index
                                                                                                                                                  Exhibit 1
                       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 62 of 118 PageID #:171



                                                                                                                                       State FOIA
                                                                                                                        Review         Exemptions
Doc. No.                         Doc Type           Pages     Date/Date Range Author(s)/Recipient(s)                    Result         Claimed
                                                                                     Doha/Department                                   b(5) DPP
DESCRIPTION: This document is a cable with the subject line “Scenesetter for Secretary Bodman’s January 21-22 Visit to Qatar.” Portions of the
document were originally and are currently classified as SECRET. On January 8, 2016, in accordance with the requirements of Section 1.7(d) of
E.O. 13526, the Department classified portions of the document as SECRET that had been unclassified. Additionally, on May 9, 2018, in
accordance with the requirements of Section 1.7(d) of E.O. 13526, the Department classified portions of the document as SECRET that had been
previously classified but had past their declassification date. The Department withheld this document in part under FOIA Exemption 1, 5 U.S.C. §
552(b)(1), pursuant to E.O. 13526 sections 1.4(b) and (d), which pertain to foreign government information and foreign relations or foreign
activities of the United States. The ability to obtain information from foreign governments is essential to the formulation and successful
implementation of U.S. foreign policy. Release of the foreign government information in this document, either voluntarily by the Department or
by order of a court, would cause foreign officials to believe that U.S. officials are not able or willing to observe the confidentiality expected in
such interchanges. Governments could reasonably be expected to be less willing in the future to furnish information important to the conduct
of U.S. foreign relations, and in general less disposed to cooperate with the United States in the achievement of foreign policy objectives of
common interest. The Department also withheld information in this document that concerns sensitive aspects of U.S. foreign relations,
including discussions of sensitive national security topics involving U.S. interests in Qatar and the Middle East. This material reflects information
about the nature of U.S. engagement with other countries and evaluations by U.S. officials regarding those engagements. Confidentiality of this
information is vital to the conduct of successful foreign relations. In particular, U.S. Government officials must be able to provide policymakers
with candid assessments of the various nations or leaders with which the United States conducts foreign relations without fear that those
internal assessments will be made public. Disclosure of this information at this time could have the potential to inject friction into, or cause
serious damage to, a number of our bilateral relationships with countries whose cooperation is important to U.S. national security, including
some in which public opinion might not currently favor close cooperation with the United States. Moreover, the risk of harm to national security
from disclosure of this information is exacerbated by the political and security instability in the region in question, such that release of this
information could pose a direct threat to the national security of the United States.

The Department also withheld portions of this document under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process
privilege. The withheld material, which contains recommendations from Department employees to the Secretary regarding his visit to Qatar is
pre-decisional and deliberative with respect to a final determination on what policies to pursue during the Secretary’s visit to Qatar and would
reveal the details of internal Department discussions on how to prepare and pursue U.S. policy. Release of this information could reasonably be
expected to have a chilling effect on the open and frank expression of ideas, recommendations, and opinions that occurs when Department
officials are developing a preferred course of action and disclosure of this information would impede the ability of responsible executive branch
                                                                         13
                                                                                                                       Stevens v. U.S. Dep’t of State
                                                                                                                                   No. 17-cv-02494
                                                                                                                                       Vaughn Index
                                                                                                                                            Exhibit 1
                        Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 63 of 118 PageID #:172



                                                                                                                                      State FOIA
                                                                                                                         Review       Exemptions
Doc. No.                         Doc Type             Pages     Date/Date Range Author(s)/Recipient(s)                   Result       Claimed
officials to formulate and carry out programs by inhibiting candid discussion and the expression of recommendations and judgments regarding
future courses of action. For these reasons, the withheld information is exempt from disclosure under FOIA Exemption 5, pursuant to the
deliberative process privilege. The Department conducted a line-by-line review of the document and determined that there is no meaningful,
non-exempt information that can be reasonably segregated and released.
(35)
C05829770                        Cable                6         5/19/2008             U.S. Embassy                       RIP          (b)(1), 1.4(b), (d)
                                                                                      Doha/Department
DESCRIPTION: This document is a cable with the subject line “Scenesetter for DHS Secretary Michael Chertoff’s May 2008 Visit to Qatar.”
Portions of the document were originally and are currently classified as SECRET. On November 3, 2015, the Department extended classification
on this document at the SECRET level. The Department withheld this document in part under FOIA Exemption 1, 5 U.S.C. § 552(b)(1), pursuant
to E.O. 13526 sections 1.4(b) and (d), which pertain to foreign government information and foreign relations or foreign activities of the United
States. The ability to obtain information from foreign governments is essential to the formulation and successful implementation of U.S. foreign
policy. Release of the foreign government information in this document, either voluntarily by the Department or by order of a court, would
cause foreign officials to believe that U.S. officials are not able or willing to observe the confidentiality expected in such interchanges.
Governments could reasonably be expected to be less willing in the future to furnish information important to the conduct of U.S. foreign
relations, and in general less disposed to cooperate with the United States in the achievement of foreign policy objectives of common interest.
The Department also withheld information in this document that concerns sensitive aspects of U.S. foreign relations, including discussions of
sensitive national security topics involving U.S. interests in Qatar. This material reflects information about the nature of U.S. engagement with
other countries and evaluations by U.S. officials regarding those engagements. Confidentiality of this information is vital to the conduct of
successful foreign relations. In particular, U.S. Government officials must be able to provide policymakers with candid assessments of the
various nations or leaders with which the United States conducts foreign relations without fear that those internal assessments will be made
public. Disclosure of this information at this time could have the potential to inject friction into, or cause serious damage to, a number of our
bilateral relationships with countries whose cooperation is important to U.S. national security, including some in which public opinion might not
currently favor close cooperation with the United States. Moreover, the risk of harm to national security from disclosure of this information is
exacerbated by the political and security instability in the region in question, such that release of this information could pose a direct threat to
the national security of the United States. The Department conducted a line-by-line review of the document and determined there is no
additional meaningful, non-exempt information that can be reasonably segregated and released.
(36)
C05829772                        Cable                3         05/16/2008            Department/U.S. Embassy            RIP          (b)(1), 1.4(d)
                                                                           14
                                                                                                                           Stevens v. U.S. Dep’t of State
                                                                                                                                       No. 17-cv-02494
                                                                                                                                           Vaughn Index
                                                                                                                                                Exhibit 1
                        Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 64 of 118 PageID #:173



                                                                                                                                        State FOIA
                                                                                                                         Review         Exemptions
Doc. No.                         Doc Type           Pages      Date/Date Range       Author(s)/Recipient(s)              Result         Claimed
                                                                                     Doha
DESCRIPTION: This document is a cable with the subject line “Democracy Strategy and Goals: Qatar.” Portions of the document were originally
and are currently classified as CONFIDENTIAL. On November 3, 2015, the Department extended classification on portions of the document at
the CONFIDENTIAL level. The Department withheld this document in part under FOIA Exemption 1, 5 U.S.C. § 552(b)(1), pursuant to E.O. 13526
section 1.4(d), which pertains to foreign relations or foreign activities of the United States. The withheld information concerns sensitive aspects
of U.S. foreign relations, including discussions of sensitive national security topics involving U.S. interests in Qatar. This material reflects
information about the nature of U.S. engagement with other countries and evaluations by U.S. officials regarding those engagements.
Confidentiality of this information is vital to the conduct of successful foreign relations. In particular, U.S. Government officials must be able to
provide policymakers with candid assessments of the various nations or leaders with which the United States conducts foreign relations without
fear that those internal assessments will be made public. Disclosure of this information at this time could have the potential to inject friction
into, or cause serious damage to, a number of our bilateral relationships with countries whose cooperation is important to U.S. national security,
including some in which public opinion might not currently favor close cooperation with the United States. Moreover, the risk of harm to
national security from disclosure of this information is exacerbated by the political and security instability in the region in question, such that
release of this information could pose a direct threat to the national security of the United States. The Department conducted a line-by-line
review of the document and determined there is no additional meaningful, non-exempt information that can be reasonably segregated and
released.
(37)
C05899057                         Cable              5         08/21/2008            U.S. Embassy DOHA/Dep’t of          RIP           (b)(1), 1.4 (b), (d)
                                                                                     State
DESCRIPTION: This document is a cable with the subject line “Scenesetter for U/S Glassman’s Visit to Doha.” Portions of the document were
originally and are currently classified as CONFIDENTIAL. The Department withheld this document in part under FOIA Exemption 1, 5 U.S.C. §
552(b)(1), pursuant to E.O. 13526 sections 1.4(b) and (d), which pertain to foreign government information and foreign relations or foreign
activities of the United States. The ability to obtain information from foreign governments is essential to the formulation and successful
implementation of U.S. foreign policy. Release of the foreign government information in this document, either voluntarily by the Department or
by order of a court, would cause foreign officials to believe that U.S. officials are not able or willing to observe the confidentiality expected in
such interchanges. Governments could reasonably be expected to be less willing in the future to furnish information important to the conduct
of U.S. foreign relations, and in general less disposed to cooperate with the United States in the achievement of foreign policy objectives of
common interest. The Department also withheld information in this document concerning sensitive aspects of U.S. foreign relations, including
discussions of sensitive national security topics involving U.S. interests in Qatar and other countries in the Middle East. This material reflects
                                                                            15
                                                                                                                            Stevens v. U.S. Dep’t of State
                                                                                                                                        No. 17-cv-02494
                                                                                                                                            Vaughn Index
                                                                                                                                                 Exhibit 1
                       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 65 of 118 PageID #:174



                                                                                                                                      State FOIA
                                                                                                                       Review         Exemptions
Doc. No.                         Doc Type            Pages     Date/Date Range Author(s)/Recipient(s)                  Result         Claimed
information about the nature of U.S. engagement with other countries and evaluations by U.S. officials regarding those engagements.
Confidentiality of this information is vital to the conduct of successful foreign relations. In particular, U.S. Government officials must be able to
provide policymakers with candid assessments of the various nations or leaders with which the United States conducts foreign relations without
fear that those internal assessments will be made public. Disclosure of this information at this time could have the potential to inject friction
into, or cause serious damage to, a number of our bilateral relationships with countries whose cooperation is important to U.S. national security,
including some in which public opinion might not currently favor close cooperation with the United States. Moreover, the risk of harm to
national security from disclosure of this information is exacerbated by the political and security instability in the region in question, such that
release of this information could pose a direct threat to the national security of the United States. The Department conducted a line-by-line
review of the document and determined there is no meaningful, non-exempt information that can be reasonably segregated and released.

(38)
C06340023                       Email             4         9/9/2015             Department Officials               RIP           (b)(5), DPP
DESCRIPTION: This document is an intra-agency email with the subject line “Ambassador Dana Shell Smith on US-Qatar relations.” The
Department withheld this document in part under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. The
withheld information consists of proposed talking points for addressing the press on the issue of U.S.-Qatar bilateral relationship. Release of the
withheld material, which is pre-decisional and deliberative with respect to the Department’s communications to the press, would reveal
recommendations regarding the content of communications with the press, and could reasonably be expected to have a chilling effect on the
open and frank expression of ideas, recommendations, and opinions that occurs when Department officials are developing a preferred course of
action. Disclosure of this information would impede the ability of responsible executive branch officials to formulate and carry out programs by
inhibiting candid discussion and the expression of recommendations and judgments regarding interactions with the press. For these reasons,
the withheld information is exempt from disclosure under FOIA Exemption 5 pursuant to the deliberative process privilege. The Department
conducted a line-by-line review of the document and determined there is no additional meaningful, non-exempt information that can be
reasonably segregated and released.
(39)
C06340030                       Email             1         11/22/2015           Department Officials               RIP           (b)(5), DPP; (b)(6)
DESCRIPTION: This document is an intra-agency email with the subject line “Aspen Institute MFA Mtg times.” The Department withheld this
document in part under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. Release of the withheld material,
which is pre-decisional and deliberative with respect to the potential agenda for a visit by the Aspen Institute, would reveal the author’s
preliminary thoughts and ideas regarding the proposed agenda and could reasonably be expected to have a chilling effect on the open and frank
                                                                         16
                                                                                                                       Stevens v. U.S. Dep’t of State
                                                                                                                                    No. 17-cv-02494
                                                                                                                                       Vaughn Index
                                                                                                                                            Exhibit 1
                       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 66 of 118 PageID #:175



                                                                                                                                State FOIA
                                                                                                                   Review       Exemptions
Doc. No.                        Doc Type         Pages      Date/Date Range Author(s)/Recipient(s)                 Result       Claimed
expression of ideas, recommendations, and opinions that occurs when Department officials are developing a preferred course of action.
Disclosure of this information would impede the ability of responsible executive branch officials to formulate and carry out programs by
inhibiting candid discussion and the expression of recommendations and judgments regarding future courses of action. For these reasons, the
withheld information is exempt from disclosure under FOIA Exemption 5 pursuant to the deliberative process privilege.

The Department also withheld the mobile phone number of an agency official under FOIA Exemption 6, 5 U.S.C. § 552(b)(6), because release of
this information could subject the individual to harassing or unwanted communications and would not shed light on the operations of the U.S.
Government. As a result, release of this information would constitute an unwarranted invasion of personal privacy, and the information is
exempt from disclosure under FOIA Exemption 6. Plaintiff is not challenging the Department’s withholding pursuant to FOIA Exemption 6. The
Department conducted a line-by-line review of the document and determined that there is no meaningful, non-exempt information that can be
reasonably segregated and released.
(40)
C06340124                       Memo              6          3/28/2017          Department Officials               RIP           (b)(5), DPP
DESCRIPTION: This document is an action memo for the Ambassador to Qatar with the subject line “Ambassador Attendance and Speaking
Engagement at Graduation Ceremonies.” The Department withheld this document in part under FOIA Exemption 5, 5 U.S.C. § 552(b)(5),
pursuant to the deliberative process privilege. The withheld material contains recommendations for the Ambassador’s and additional
individuals’ attendance and engagement at educational and graduation ceremonies. Release of this material could reasonably be expected to
have a chilling effect on the open and frank expression of ideas, recommendations, and opinions that occurs when Department officials are
developing a preferred course of action. Disclosure of this information would impede the ability of responsible executive branch officials to
formulate and carry out programs by inhibiting candid discussion and the expression of recommendations and judgments regarding future
courses of action. For these reasons, the withheld information is exempt from disclosure under FOIA Exemption 5 pursuant to the deliberative
process privilege. The Department conducted a line-by-line review of the document and determined there is no additional meaningful, non-
exempt information that can be reasonably segregated and released.
(41)
C06340311                       Spreadsheet       4          Undated            Unknown                            RIP           (b)(6)
DESCRIPTION: This document is a spreadsheet containing data on students and administrators. The Department withheld this document in part
under FOIA Exemption 6, 5 U.S.C. § 552(b)(6). The Department withheld personally identifiable information including university administrators
and students’ nicknames, citizenship, email addresses, most recent employer, job title, and undergraduate school because release of this
information would reveal personal details concerning the individuals’ lives and could subject the individuals to harassing communications or
                                                                        17
                                                                                                                      Stevens v. U.S. Dep’t of State
                                                                                                                                  No. 17-cv-02494
                                                                                                                                      Vaughn Index
                                                                                                                                           Exhibit 1
                       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 67 of 118 PageID #:176



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                                                                                                                   Review         Exemptions
Doc. No.                         Doc Type          Pages    Date/Date Range Author(s)/Recipient(s)                 Result         Claimed
unwanted attention. This information would not shed light on the operations of the U.S. Government. As a result, release of this information
would constitute an unwarranted invasion of personal privacy, and the information is exempt from disclosure under FOIA Exemption 6. The
Department conducted a line-by-line review of the document and determined that there is no additional meaningful, non-exempt information
that can be reasonably segregated and released.
(42)
C06340423                        Email             6        10/5/2015            Department Officials              RIP            (b)(5), DPP
DESCRIPTION: This document is an intra-agency email with the subject line “PAS Paragraph for AmCham Publication.” The Department
withheld this document in part under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. The withheld
information consisting of draft proposed language for publication in a U.S. Chamber of Commerce booklet on doing business in Qatar. Release
of the withheld material, which is pre-decisional and deliberative with respect to final approved language, would reveal the author’s preliminary
thoughts and ideas regarding proposed text and could reasonably be expected to chill the open and frank expression of ideas,
recommendations, and opinions that occur when U.S. Government officials are crafting text for dissemination to the public. Disclosure of this
information would impede the ability of responsible executive branch officials to formulate and carry out programs by inhibiting candid
discussion and the expression of recommendations and judgments regarding a preferred course of action. For these reasons, the withheld
information is exempt from disclosure under FOIA Exemption 5 pursuant to the deliberative process privilege. The Department conducted a
line-by-line review of the document and determined that there is no additional meaningful, non-exempt information that can be reasonably
segregated and released.
(43)
C06340790                        Email               11     9/10/2015                   Department                   RIP         (b)(6)
                                                                                        Officials/Qatar Academy
                                                                                        faculty
DESCRIPTION: This document is an email with the subject line “RE: Ambassador’s Smith Presentation at Qatar Leadership Conference, Oct.
2015.” The Department withheld this document in part under FOIA Exemption 6, 5 U.S.C. § 552(b)(6). The Department withheld personally
identifying information including the email address and phone numbers of the Head of THIMUN Qatar and the e-mail address of a member of
the Qatar Academy faculty. It also withheld personal family information, and sensitive, personal details regarding the Qatar Academy faculty
member’s work experience at the Department. Finally, the Department withheld information regarding Ambassador Smith’s family. Release of
this information could subject the individuals to harassment or unwanted attention and would reveal personal details regarding their lives. As a
result, release of this information would constitute an unwarranted invasion of personal privacy, and the information is exempt from disclosure
under FOIA Exemption 6. The Department conducted a line-by-line review of the document and determined that there is no additional
                                                                         18
                                                                                                                      Stevens v. U.S. Dep’t of State
                                                                                                                                   No. 17-cv-02494
                                                                                                                                      Vaughn Index
                                                                                                                                            Exhibit 1
                       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 68 of 118 PageID #:177



                                                                                                                                   State FOIA
                                                                                                                     Review        Exemptions
Doc. No.                     Doc Type         Pages     Date/Date Range Author(s)/Recipient(s)                       Result        Claimed
meaningful, non-exempt information that can be reasonably segregated and released.

(44-45)
C06341605                        Email              4        1/6/2016                    Department Officials           RIP       (b)(5), DPP
C06341607                                           4        1/6/2016
DESCRIPTION: These documents are intra-agency emails with the subject line “RE: Heading your way.” The withheld material contains internal
Embassy recommendations and suggestions regarding a proposed itinerary for a visiting Department official, including Department employee’s
assessments and opinions regarding the value of meeting with certain individuals and organizations in Qatar. The Department withheld the
documents in part under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. Release of the withheld
material, which is pre-decisional and deliberative with respect to an official’s plans during an upcoming visit, could reasonably be expected to
chill the open and frank expression of ideas, recommendations, and opinions that occur when Department officials are developing a preferred
course of action regarding engagement with foreign counterparts. Disclosure of this information would impede the ability of responsible
executive branch officials to formulate and carry out programs by inhibiting candid discussion and the expression of recommendations and
judgments regarding future courses of action. For these reasons, the withheld information is exempt from disclosure under FOIA Exemption 5
pursuant to the deliberative process privilege. The Department conducted a line-by-line review of the document and determined that there is
no additional meaningful, non-exempt information that can be reasonably segregated and released.
(46)
C06341697                        Email              3        1/6/2016                    Department Officials           RIP       (b)(5), DPP; (b)(6)
DESCRIPTION: This document is an intra-agency email with the subject line “RE: National Day Invitation List.” The Department withheld this
document in part under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. The withheld material contains
internal Embassy recommendations, suggestions, and opinions regarding a proposed invitation list for the National Day event at the U.S.
Embassy in Qatar. Release of the withheld material, which is pre-decisional and deliberative with respect to plans on who to invite to National
Day, could reasonably be expected to chill the open and frank expression of ideas, recommendations, and opinions that occur when Department
officials are developing a preferred course of action. Disclosure of this information would impede the ability of responsible executive branch
officials to formulate and carry out programs by inhibiting candid discussion and the expression of recommendations and judgments regarding
future courses of action. For these reasons, the withheld information is exempt from disclosure under FOIA Exemption 5 pursuant to the
deliberative process privilege.

The Department also withheld the names and contact information of proposed invitees under FOIA Exemption 6, 5 U.S.C. § 552(b)(6), because
                                                                    19
                                                                                                               Stevens v. U.S. Dep’t of State
                                                                                                                           No. 17-cv-02494
                                                                                                                               Vaughn Index
                                                                                                                                    Exhibit 1
                       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 69 of 118 PageID #:178



                                                                                                                                 State FOIA
                                                                                                                  Review         Exemptions
Doc. No.                          Doc Type         Pages     Date/Date Range Author(s)/Recipient(s)               Result         Claimed
release of this information could subject the individual to harassing or unwanted communications and would not shed light on the operations of
the U.S. Government. As a result, release of this information would constitute an unwarranted invasion of personal privacy, and the information
is exempt from disclosure under FOIA Exemption 6. The Department conducted a line-by-line review of the document and determined that
there is no meaningful, non-exempt information that can be reasonably segregated and released. Plaintiff is not challenging the Department’s
withholding pursuant to FOIA Exemption 6.
(47)
C06342814                         Email             3        12/7/2015                  Department Officials        RIP         (b)(5), DPP, (b)(6)
DESCRIPTION: This document is an intra-agency email with the subject line “RE: Qatar national day plans.” The Department withheld this
document in part under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. The withheld material contains a
recommended script for use by the Ambassador in a Qatari national day video and questions and discussions between the Ambassador and
embassy staff regarding what may be included in the final script. Release of the withheld material, which is pre-decisional and deliberative with
respect to the final script, could reasonably be expected to chill the open and frank expression of ideas, recommendations, and opinions that
occur when Department officials are developing a preferred course of action. Disclosure of this information would impede the ability of
responsible executive branch officials to formulate and carry out programs by inhibiting candid discussion and the expression of
recommendations and judgments regarding future courses of action. For these reasons, the withheld information is exempt from disclosure
under FOIA Exemption 5 pursuant to the deliberative process privilege.

The Department also withheld the mobile phone number of a Department official under FOIA Exemption 6, 5 U.S.C. § 552(b)(6), because release
of this information could subject the individual to harassing or unwanted communications and would not shed light on the operations of the U.S.
Government. As a result, release of this information would constitute an unwarranted invasion of personal privacy, and the information is
exempt from disclosure under FOIA Exemption 6. Plaintiff is not challenging the Department’s withholding pursuant to FOIA Exemption 6. The
Department conducted a line-by-line review of the document and determined that there is no additional meaningful, non-exempt information
that can be reasonably segregated and released.
(48)
C06343759                       Email                5       09/21/2015               Department Officials           RIP         (b)(5), DPP; b(6)
DESCRIPTION: This document is an intra-agency email with the subject line “Visit of Media Specialist – Magda Abu Fadil.” The Department
withheld this document in part under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. The withheld
material contains preliminary discussion, recommendations, and opinions regarding the proposed agenda for a media specialist’s visit to Qatar.
Release of the withheld material, which is pre-decisional and deliberative with respect to the final agenda for the upcoming visit, could
                                                                        20
                                                                                                                      Stevens v. U.S. Dep’t of State
                                                                                                                                   No. 17-cv-02494
                                                                                                                                      Vaughn Index
                                                                                                                                           Exhibit 1
                       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 70 of 118 PageID #:179



                                                                                                                                State FOIA
                                                                                                                  Review        Exemptions
Doc. No.                       Doc Type          Pages      Date/Date Range Author(s)/Recipient(s)                Result        Claimed
reasonably be expected to chill the open and frank expression of ideas, recommendations, and opinions that occur when Department officials
are developing a preferred course of action. Disclosure of this information would impede the ability of responsible executive branch officials to
formulate and carry out programs by inhibiting candid discussion and the expression of recommendations and judgments regarding future
courses of action. For these reasons, the withheld information is exempt from disclosure under FOIA Exemption 5 pursuant to the deliberative
process privilege.

The Department also withheld the mobile phone number of a Department official and the mobile phone number and email address of a private
individual under FOIA Exemption 6, 5 U.S.C. § 552(b)(6), because release of this information could subject the individuals to harassing or
unwanted communications and would not shed light on the operations of the U.S. Government. As a result, release of this information would
constitute an unwarranted invasion of personal privacy, and the information is exempt from disclosure under FOIA Exemption 6. Plaintiff is not
challenging the Department’s withholding pursuant to FOIA Exemption 6. The Department conducted a line-by-line review of the document and
determined that there is no meaningful, non-exempt information that can be reasonably segregated and released.
(49)
C06347128                        Paper             5       June 2017                   Embassy Officials/            RIP        (b)(5), DPP
                                                                                       Undersecretary for
                                                                                       Diplomacy and Public
                                                                                       Affairs
DESCRIPTION: This document is a briefing paper entitled “R’s Meeting with Ambassador Sheikh Mishal bin Hamad Al Thani.” The Department
withheld this document in part under FOIA Exemption 5, 5 U.S.C. § 552(b)(5), pursuant to the deliberative process privilege. The withheld
information represents a selection of facts chosen by Embassy staff for the purpose of advising the Undersecretary for Public Diplomacy and
Public Affairs regarding the meeting and contains the authors’ opinions and assessments regarding the U.S. relationship with Qatar and
educational issue. Release of the withheld material, which is pre-decisional and deliberative with regards to the Undersecretary’s approach to
the meeting, could reasonably be expected to chill the open and frank expression of ideas, recommendations, and opinions that occur when
Department officials are developing a preferred course of action. Disclosure of this information would impede the ability of responsible
executive branch officials to formulate and carry out programs by inhibiting candid discussion and the expression of recommendations and
judgments regarding a proposed course of action. For these reasons, the withheld information is exempt from disclosure under FOIA Exemption
5 pursuant to the deliberative process privilege. The Department conducted a line-by-line review of the document and determined there is no
additional meaningful, non-exempt information that can be reasonably segregated and released.

                                                                        21
                                                                                                                     Stevens v. U.S. Dep’t of State
                                                                                                                                 No. 17-cv-02494
                                                                                                                                     Vaughn Index
                                                                                                                                          Exhibit 1
                      Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 71 of 118 PageID #:180



                                                                                                                             State FOIA
                                                                                                                Review       Exemptions
Doc. No.                      Doc Type          Pages     Date/Date Range     Author(s)/Recipient(s)            Result       Claimed
(50)
C06334236                     Draft Paper       9         Unknown                 Middle Eastern Partnership        DIF           (b)(5), DPP
                                                                                  Initiative (“MEPI”)
DESCRIPTION: This document is a draft of program requirements for a project funded by MEPI. It contains redline text. Release of the withheld
material, which is pre-decisional and deliberative with respect to final approved language, would reveal the author’s preliminary thoughts and
ideas regarding proposed text and could reasonably be expected to chill the open and frank expression of ideas, recommendations, and opinions
that occur when U.S. Government officials are crafting text for dissemination to the public. Disclosure of this information would impede the
ability of responsible executive branch officials to formulate and carry out programs by inhibiting candid discussion and the expression of
recommendations and judgments regarding a preferred course of action. For these reasons, the withheld information is exempt from disclosure
under FOIA Exemption 5 pursuant to the deliberative process privilege. The Department conducted a line-by-line review of the document and
determined that there is no additional meaningful, non-exempt information that can be reasonably segregated and released.
(51)
C06334238                       Draft Paper         2        2008                 MEPI                              DIF           (b)(5), DPP
DESCRIPTION: This document is a draft description of the MEPI High School Journalism Education Program containing a comment about what to
include in the description. Release of the withheld material, which is pre-decisional and deliberative with respect to final approved language,
would reveal the author’s preliminary thoughts and ideas regarding proposed text and could reasonably be expected to chill the open and frank
expression of ideas, recommendations, and opinions that occur when U.S. Government officials are crafting text for dissemination to the public.
Disclosure of this information would impede the ability of responsible executive branch officials to formulate and carry out programs by
inhibiting candid discussion and the expression of recommendations and judgments regarding a preferred course of action. For these reasons,
the withheld information is exempt from disclosure under FOIA Exemption 5 pursuant to the deliberative process privilege. The Department
conducted a line-by-line review of the document and determined that there is no additional meaningful, non-exempt information that can be
reasonably segregated and released.




                                                                      22
                                                                                                                  Stevens v. U.S. Dep’t of State
                                                                                                                              No. 17-cv-02494
                                                                                                                                  Vaughn Index
                                                                                                                                       Exhibit 1
       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 72 of 118 PageID #:181
C05727160
                                                                  F-~ts- o31&o

   Brothers, Karen G
                                                                                     ftt:J=.. F .:z_o !.S- 001ofo3

   From:                           State Department FOIA <noreply@state.gov>
   Sent:                           Wednesday, February 11, 2015 8:01 PM
   To:                             FOIA Request
   Subject                         FOIA Request Letter



   Thank you for filing your FOIA request online on 2/11/2015. Here is a review of your request.

   The records I request can be described as follows:

   Your agency recently unlawfully ruled a prior and perfectly legal request "invalid." (F-2015~00663) I am
   therefore breaking the request into components. Failure to produce responsive records absent a specific legal
   reason under the Freedom of Information Act will prompt litigation. Please note that by resubmitting this
   request I am not waiving my right to litigate the constructive deriial of my prior request within the 60 days
   allowed under FOIA. Northwestern University has coordinated with officials from the U.S. State Department
   since the mid-2000s to open a campus in Doha, Qatar. My request is for: All State HQ and consular Qatar
   materials in all systems records and elsewhere referencing Northwestern University's Qatar campus. Material
   requested includes but is not limited to memorandums, cables or email, notes, reports, correspondence with
   other agencies, members of Congress (or staff), and private firms or individuals. Please consult in particular the
   following components: Policy Planning Staff, Blireau of International Information Programs, Policy Planning
   and Resources, Bureau of Budget and Planning, Bureau of Administration, Bureau of Diplomatic Security,
   Office ofManagernent Policy, RightSizing, and Innovation, Office of White House Liason, Bureau of
   Intelligence and Research, and Office of the Chief of Protocol, as well as all other components that may contain
   responsive information, including J5, or the Policy Division.

   The time period of my request is from 01/01/2005 to present

    I am affiliated with an educational or noncommercial scientific institution seeking information for a scholarly or
    scientific purpose and not for commercial use.
    Additional documentation will be required.


    I am willing to pay $25 for my request.

   I request a waiver of all fees for this request.
   Reason: I am affiliated with an educational or noncommercial scientific institution seeking information for a
   scholarly or scientific purpose and not for commercial use. For purposes of verification, please consult the
   information on the Northwestern University Political Science Department web page referencing my affiliation
   and research. http://redirect.state.sbu/?url-http://www.polisci.northwestern.edu/people/core-faculty/jacqueline-
   stevens.html

    My additional comments are as follows:

    N/A

    Contact Information
    Ms. Jacqueline Stevens
    601 University PI
                                                            5

                                                                                                  STEIN DECLARATION
                                                                                            Civil Action No. 17-cv-02494
                                                                                                              EXHIBIT 02
       Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 73 of 118 PageID #:182
C05727160

   Political Science Department
   Evanston, illinois I 00 I I
   P: 847-467-2093
   F:N/A
    jacqueline-stevens@northwestem.edu




                                              6

                                                                           STEIN DECLARATION
                                                                     Civil Action No. 17-cv-02494
                                                                                       EXHIBIT 02
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 74 of 118 PageID #:183




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 03
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 75 of 118 PageID #:184




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 03
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 76 of 118 PageID #:185




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 03
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 77 of 118 PageID #:186




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 03
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 78 of 118 PageID #:187




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 04
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 79 of 118 PageID #:188




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 04
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 80 of 118 PageID #:189




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 05
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 81 of 118 PageID #:190




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 06
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 82 of 118 PageID #:191




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 07
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 83 of 118 PageID #:192




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 08
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 84 of 118 PageID #:193




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 09
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 85 of 118 PageID #:194




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 10
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 86 of 118 PageID #:195




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 11
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 87 of 118 PageID #:196




                                                                   STEIN DECLARATION
                                                             Civil Action No. 17-cv-02494
                                                                               EXHIBIT 12
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 88 of 118 PageID #:197




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 13
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 89 of 118 PageID #:198




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 14
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 90 of 118 PageID #:199




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 15
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 91 of 118 PageID #:200




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 16
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 92 of 118 PageID #:201




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 16
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 93 of 118 PageID #:202




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 17
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 94 of 118 PageID #:203




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 17
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 95 of 118 PageID #:204




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 17
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 96 of 118 PageID #:205




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 17
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 97 of 118 PageID #:206




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 18
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 98 of 118 PageID #:207




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 19
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 99 of 118 PageID #:208




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 20
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 100 of 118 PageID #:209




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 20
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 101 of 118 PageID #:210




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 20
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 102 of 118 PageID #:211




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 20
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 103 of 118 PageID #:212




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 20
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 104 of 118 PageID #:213




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 21
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 105 of 118 PageID #:214




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 22
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 106 of 118 PageID #:215




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 23
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 107 of 118 PageID #:216




                                                                    STEIN DECLARATION
                                                              Civil Action No. 17-cv-02494
                                                                                EXHIBIT 24
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 108 of 118 PageID #:217




               Exhibit B
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 109 of 118 PageID #:218
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 110 of 118 PageID #:219
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 111 of 118 PageID #:220
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 112 of 118 PageID #:221
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 113 of 118 PageID #:222
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 114 of 118 PageID #:223
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 115 of 118 PageID #:224
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 116 of 118 PageID #:225
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 117 of 118 PageID #:226
Case: 1:17-cv-02494 Document #: 35 Filed: 05/25/18 Page 118 of 118 PageID #:227
